Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 1 of 134




        Exhibit A
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 2 of 134



                                                                       Page 1

1                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
2                              - - -
3
     COLLEEN KOSLOSKY                           :
4
              vs.                               :
5                                                   Civil action no.
     AMERICAN AIRLINES, INC.                    :   2:18-cv-04654-PD
6
7
8                               VOLUME I
9                                - - -
                         Philadelphia, Pennsylvania
10                             May 7, 2019
                                 - - -
11
12                   Deposition of COLLEEN KOSLOSKY, held in
13   the offices of VERITEXT LEGAL SOLUTIONS, 1801 Market
14   Street, Suite 1800, on the above date at 10:12 a.m.,
15   before Rachel L. Cicalese, a Registered Professional
16   Reporter and Certified Court Reporter.
17
                                  -    -   -
18
19
20
21
22
                    VERITEXT LEGAL SOLUTIONS
23                     MID-ATLANTIC REGION
              1801 Market Street - Suite 1800
24           Philadelphia, Pennsylvania 19103

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 3 of 134



                                                                       Page 2

1    APPEARANCES:
2                       KOLLER LAW, LLC
                        BY:     DAVID M. KOLLER, ESQUIRE
3                       2043 Locust Street, Suite 1B
                        Philadelphia, PA               19103
4                       215-545-8917
                        Davidk@kollerlawfirm.com
5                       Attorneys for Plaintiff
6                       FISHER & PHILLIPS, LLP
                        BY:     DANIEL E. FARRINGTON, ESQUIRE
7                       7501 Wisconsin Avenue, Suite 1220W
                        Bethesda, MD            20814
8                       301-951-1538
                        Dfarrington@fisherphillips.com
9                       Attorneys for Defendant
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 4 of 134

                                   Colleen Koslosky

                                                                     Page 21

1    but I was already displaced to Philadelphia.                          I am
2    exhausted just hearing this.                 And I got to Philly.
3    It was almost like I went full circle, and I came
4    home -- because I am from New Jersey.
5    Philadelphia -- Philadelphia, in the system they
6    have a horrible reputation, but at that time that
7    was the best-kept secret in the system.                        That was
8    my favorite station.
9               Q.       And when you were displaced to
10   Philadelphia in 1992, did you continue as a
11   customer service agent?
12              A.       I did.       I did.
13              Q.       From the time you became a customer
14   service agent in 1990, through your last day of
15   employment, did you function as a customer service
16   agent?
17              A.       I did.
18              Q.       So, from 1990 through 2017?
19              A.       I did.
20              Q.       You were a customer service agent?
21              A.       The whole time.
22              Q.       Did you hold any other position with
23   the company over that time period?
24              A.       No.     Like --


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 5 of 134

                                   Colleen Koslosky

                                                                     Page 22

1               Q.       Like --
2               A.       No, I wasn't the chairman of the
3    board.     I wasn't a board member.               I was just a
4    lowly customer service agent.
5               Q.       That wasn't my implication.
6               A.       No.     I am being funny.           I am being
7    funny.     I am not taking that as any kind of insult.
8               Q.       Okay.     Well, let's -- then from 1992
9    through 2017, were you based in Philadelphia?
10              A.       I was.
11              Q.       That whole time?
12              A.       That whole time.
13              Q.       Were you subject to any furloughs?
14              A.       I was too senior at that time because
15   they changed everything to date of hire.
16              Q.       And you had previously mentioned that
17   unions came around in the nineties?
18              A.       They did come around in the nineties.
19   I think that happened after they took our pension
20   in '91 -- US Air did, US Air pension for the
21   customer service agents was eliminated.                      I don't
22   even know what year it was, to tell you the truth.
23   I think it was maybe about '91 it was eliminated.
24              Q.       Okay.     Just so we are clear, US


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 6 of 134

                                   Colleen Koslosky

                                                                     Page 30

1                        As far as managers, regular
2    managers -- are we going to be eliminating the duty
3    manager?        Are we going to be eliminating the duty
4    manager, because it didn't exist in 2017?
5               Q.       Right.      So, I am focusing on 2017.
6    You told me duty manager doesn't exist, and I am
7    asking you to whom the customer service managers
8    directly reported.
9               A.       Well, you had a senior manager.                    So,
10   you had a manager who reported to the senior
11   managers.        Senior manager I assume would have
12   reported to Beth Norton.              I was never in any
13   meetings, but I do know that managers and senior
14   managers did get together for meetings.
15              Q.       All right.        So, in 2017, Beth Norton
16   was the --
17              A.       Customer service director.                Or I
18   think -- American has another name for it.
19              Q.       Managing Director of Customer Care?
20              A.       That is it.
21              Q.       Who were the senior managers who
22   reported to Beth Norton in 2017, if you know?
23              A.       Okay.     I will try to remember.                 I do
24   want to preface this, if I may, though.                      I do not


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 7 of 134

                                   Colleen Koslosky

                                                                     Page 31

1    get involved with the politics of the airport.                           I
2    am not one -- I don't really pay attention to who
3    is where, what, and why.
4               Q.       I can only ask you what you know and
5    what you remember.
6               A.       Fair enough.
7               Q.       I should have said that when we were
8    talking about ground rules that if you don't
9    remember something or don't know something and that
10   is your most truthful answer, that is the answer
11   you should give.
12              A.       Fair enough.         I am just trying to
13   give you as full an answer as I can give you.
14              Q.       Thank you.        I will take full.               I will
15   take estimates.         I don't want guesses, though.
16              A.       Fair enough.         I am trying not to.
17   That is why I am being a tad long-winded, and I
18   don't mean to be.           Okay.
19                       Could you please repeat the question?
20              Q.       Yes.     We are just laying out the
21   reporting structure in 2017.
22              A.       Okay.     Absolutely.         Sure.      Okay.
23              Q.       Here is where we are so far:
24   Customer service agents directly report to customer


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 8 of 134

                                   Colleen Koslosky

                                                                     Page 32

1    service supervisors, right?
2               A.       Right.
3               Q.       Customer service supervisors directly
4    report to customer service managers, right?
5               A.       Right.
6               Q.       Customer service managers directly
7    report to senior managers, right?
8               A.       They do.
9               Q.       Senior managers report to the
10   director, Beth Norton?
11              A.       To the director.
12              Q.       And I had asked you if you knew the
13   names of the senior managers?
14              A.       Okay.     I know one of the senior
15   managers at the time was Nicole Blanchard.                       Another
16   one of the senior managers at the time was -- she
17   came over from American.              It's a really pretty
18   name, too.       It is not Charlene or -- I can't think
19   of her name.        I cannot think -- it is like a
20   Charlene -- Jillian.            Jillian.         It was a pretty
21   name.    I knew it was a really pretty name.
22   Jillian.
23                       That is the only two I know of, to
24   tell you the truth.           That is it.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 9 of 134

                                   Colleen Koslosky

                                                                     Page 34

1               A.       Right.
2               Q.       At the time of your separation, Beth
3    reported to Vice-President Olympia Colasante?
4               A.       Yes.
5               Q.       You are not sure who Beth reported to
6    before Olympia took that job?
7               A.       I never -- I don't get involved in
8    the politics.        I never had a reason.              I never had a
9    problem.        I don't know who the station manager was.
10   Honest to God, I had no idea.
11                       And you know what, they come and go.
12   They do.        I don't have to tell you.              They come and
13   they go.        The next thing you know there is an
14   announcement coming out that there is a new
15   somebody out there.
16              Q.       I'm correct that you worked as a
17   customer service gate agent?
18              A.       Yes.
19              Q.       Correct?
20              A.       That is correct.             Yes, sir.
21              Q.       And for how long prior to your
22   separation did you work the gate agent function?
23              A.       I think there was -- well, from '92
24   all the way through, except there were a couple of


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 10 of 134

                                   Colleen Koslosky

                                                                     Page 36

1    because of a bid 15 to 20 years ago?
2               A.       I can.      Sure.      Every so often,
3    usually -- it depends.             It could be three times a
4    year, four times a year.              Depending upon the flow
5    of aircraft coming in, they have bids.                     And what
6    bids are is they are schedules that are -- they are
7    schedules of staffing.             And they have -- some are
8    for ticket counter.           Some are for the gate.                  Some
9    are for special services.               And based upon your
10   seniority and where you will fall, you bid your
11   line, your days off.            You can bid -- you can bid
12   the ticket counter.           You can bid special services.
13   You can bid international.               International.          You can
14   bid domestic.
15                       And just depending upon what line is
16   open, the shift, the days off -- and again, where
17   your seniority lays -- that is how they do the bid.
18   And that's about the best explanation I have for
19   you.
20              Q.       Okay.     And, so, when it comes to the
21   different customer service agent functions --
22              A.       Yes.
23              Q.       -- at the Philadelphia Airport, the
24   particular function that a customer service agent


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 11 of 134

                                   Colleen Koslosky

                                                                     Page 37

1    is going to work is going to be determined by how
2    he or she bids and his or her relative seniority to
3    the other people bidding for that function?
4               A.       That is correct.
5               Q.       And the functions are awarded in
6    order of seniority?
7               A.       That is correct.
8               Q.       Right.      And is it the case that you
9    were able to hold the function of your choosing for
10   so long because you were among the more senior
11   customer service agents?
12              A.       That is correct.
13              Q.       Do you know where you fell on the
14   list of --
15              A.       I was halfway up the page, of the
16   first page.       I don't know my number, but if I
17   looked at the page, I was right in the middle.
18   Maybe a little bit above it.
19              Q.       So, that might put you in the top ten
20   or 15?
21              A.       Top 15, maybe, is my best estimation.
22              Q.       So, your best estimation is that --
23              A.       Maybe 20.       I don't know.          It was
24   very -- it was right there.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 12 of 134

                                   Colleen Koslosky

                                                                     Page 44

1               Q.       That is okay.          What about club reps?
2               A.       That is a different animal all
3    together.        That is run by Julie.            And club reps
4    are -- are club reps under --
5                        You would know this.             Are they under
6    sales?     Is the club under the sales department.
7               Q.       Yes, I can't answer questions because
8    it is your deposition.             I am sorry.
9               A.       Okay.     I am sorry.         I just don't know
10   to tell you the truth.             But the club is a
11   completely separate entity as far as working at the
12   airport.        They have different rules, different
13   uniforms.        That is a different animal.               That is
14   just different.
15              Q.       All right.        So, it is your
16   understanding that the club rep position --
17              A.       Is not customer service.
18              Q.       Okay.     All right.         So, here is what I
19   have on my list as customer service agent
20   functions.
21              A.       Mm-hm.
22              Q.       Gate agent?
23              A.       Right.
24              Q.       Ticket counter agent?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 13 of 134

                                   Colleen Koslosky

                                                                     Page 45

1               A.       Perfect.
2               Q.       Recheck?
3               A.       Yes.
4               Q.       POC?
5               A.       Right.
6               Q.       Special services?
7               A.       That is right.
8               Q.       What else?
9               A.       Baggage is out.           I don't know.           I
10   think that -- I think that pretty much wraps it up.
11              Q.       Okay.     Okay.      And were all of those
12   functions that fall under customer service those --
13   strike that.
14                       All the agents who worked the
15   functions we just identified were all members of
16   the same customer service union, correct?
17              A.       Yes.
18              Q.       They were all on the same pay scale?
19              A.       All -- yes, as far as I know, they
20   were on the same pay scale.
21              Q.       All entitled to the same benefits?
22              A.       Everything, absolutely.
23              Q.       All right.        And if you were somewhere
24   around 15th most senior out of hundreds and


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 14 of 134

                                   Colleen Koslosky

                                                                     Page 46

1    hundreds of customer service agents, you had the
2    seniority to bid and hold any of the functions we
3    have discussed?
4               A.       Most likely.
5               Q.       I know that you said that you didn't
6    work anything other than the gates for the last
7    15 years or so years of your employment?
8               A.       Right.
9               Q.       Were you required to undergo any
10   periodic training in the other customer service
11   agent functions?
12              A.       Every so -- well, there were times
13   that they would -- I am using the word dump because
14   that is what they would say.                They would dump
15   training classes into -- I think it is called
16   I-Learning.       And then they would say, okay, that
17   one is really -- don't do that because that is not
18   part of this or they would dump ramp stuff that we
19   really didn't have to do.
20                       But, yes, we would have to do
21   I-Learning for maybe other functions, but it wasn't
22   extensive.       It wasn't extensive like, you know,
23   going full on in a classroom for training of ticket
24   counter functions.           I mean, we all had that basic


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 15 of 134

                                   Colleen Koslosky

                                                                     Page 52

1    would get Caribbean flights.                We could get, like I
2    said, Jamaica, Montego Bay, or we would get -- I
3    don't know.       Pick an island.           You know, an island,
4    that wasn't a U.S. territory, we would have to work
5    those every so often.
6                        As far as arrivals, the --
7    internationally, what would wind up happening is
8    that every so often any airplane that cleared
9    customs in the city of origin such as Ireland would
10   be one of them, they would come into -- they would
11   come into domestic.           But for the most part, any
12   kind of international flight primarily was kept
13   over in international.
14              Q.       For the last several years of your
15   employment, did you primarily work gates in the B
16   and C Terminal?
17              A.       I did.
18              Q.       Do you recall how many gates there
19   were in B Terminal?
20              A.       There were 15 gates in B because B12
21   did not exist.
22              Q.       Do you recall?
23              A.       They have B16 --
24              Q.       It's all right.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 16 of 134

                                   Colleen Koslosky

                                                                     Page 53

1               A.       Sorry.      It goes to B16, but B12
2    doesn't exist.         B12 used to be the commuter gate.
3    And then over at C Concourse, it started at C17 and
4    I believe it ended at C31.               C31.
5               Q.       So, was that 14 or 15 gates over
6    there?
7               A.       Yes.
8               Q.       And of those gates and of the 15
9    gates in B Terminal, do you recall how many
10   American Airlines operated?
11              A.       All of them.
12              Q.       And is the same true --
13              A.       All of them.         In C, true.
14              Q.       The same is true in C?
15              A.       It is.
16              Q.       So, on a typical day at the airport,
17   planes are coming and going from all of those
18   terminals, right?
19              A.       Right.
20              Q.       How is it determined the last few
21   years of your employment which flights a particular
22   customer service agent would be responsible for
23   working at the gates?
24              A.       That was under the direction of a


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 17 of 134

                                   Colleen Koslosky

                                                                     Page 54

1    Mr. Larry Raikes.           Larry Raikes was the supervisor.
2               Q.       Customer service supervisor?
3               A.       I am sorry.        Customer service
4    supervisor that was responsible for delegating
5    where agents would go to.
6               Q.       And how were the schedules set and
7    then adjusted, you know, throughout the day for
8    flights that, you know, were coming in or leaving
9    late?     It doesn't seem like a work environment
10   where you can make a decision first thing in the
11   morning, this is what is going to happen, and then
12   assume that that is what is really going to happen.
13              A.       Of course.
14              Q.       Given weather delays and mechanical
15   delays and things like that?
16              A.       Sure.
17              Q.       So, practically speaking, how were
18   the assignments of particular gates given and then
19   adjusted for operational needs?
20              A.       Sure.     Philadelphia at the time
21   operated on banks of flights.
22              Q.       I am not familiar with that term,
23   so --
24              A.       Do you want me to elaborate?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 18 of 134

                                   Colleen Koslosky

                                                                     Page 57

1    we all did -- we all pulled up our flights -- and
2    every so often, you got a zinger.                   Every so often
3    there is something pulling into your gate, and that
4    is just the way it worked.
5               Q.       All right.        So, what I heard you say
6    is you would get a first flight that wasn't
7    necessarily at your assigned gate.                   Then you would
8    be assigned to a gate for the day.                   And you would
9    have a final flight that was often at your assigned
10   gate?
11              A.       More than likely.            More than likely.
12              Q.       All right.        How many customer service
13   agents worked a particular gate?
14              A.       That would be interesting.
15   Sometimes -- well, it depended.                  It depended.         What
16   they tried to do is put two at a gate.                     They tried.
17   Sometimes when there was a change in shift, when
18   there was overlap, there could be as many as three
19   to four agents assigned to a flight, up to 30.                         I
20   have worked 757s by myself.                You know, it is one.
21   I've worked a seven-five by myself.
22              Q.       So, it varied?
23              A.       Well, it did.          But it is no -- I
24   mean, a flight is a flight.                It is great to have


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 19 of 134

                                   Colleen Koslosky

                                                                     Page 59

1               A.       And you know what, that is just the
2    way it is.
3               Q.       All right.        Was this system that you
4    described where you were primarily assigned one
5    gate for a day, was that the system in effect the
6    last several years of your employment?
7               A.       Yes, sir.
8               Q.       And how did you -- what was the
9    process for a customer service agent to learn where
10   he or she was assigned for the day?
11              A.       You would walk into the office --
12   originally, it was the B4 office -- and Larry would
13   be at his desk.         And it was at his discretion where
14   an agent would be placed for the day.
15              Q.       Okay.     And when Mr. Raikes was not
16   working, was somebody else performing that
17   function?
18              A.       They were.
19              Q.       And, so, you would report to the
20   office by Gate B4 to learn your assignment for the
21   day?
22              A.       Right.      That is correct.           It has
23   since changed.         The B4 office is now an Auntie
24   Anne's and now the check-in is still on B Concourse


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 20 of 134

                                   Colleen Koslosky

                                                                     Page 60

1    directly under -- if it hasn't changed, it is
2    directly underneath B5.
3               Q.       When did that change?
4               A.       That probably -- I'm going to
5    estimate two years.           Maybe a year and a half before
6    I left.
7               Q.       So, in 2016 and 2017, you were
8    reporting to an office near B5?
9               A.       That is underneath the airport.
10   Where the ramp is, where the mechanics are.
11              Q.       I understand.
12              A.       All their offices are down there.
13              Q.       So, that's ramp level?
14              A.       Yes, sir.
15              Q.       And the B4 office, was that?
16              A.       That was the original, and then they
17   changed it when they put a store in there.                       And
18   then we went downstairs.
19              Q.       Was the B4 office where you had been
20   reporting, was that terminal level?
21              A.       That was terminal level.               It was.
22              Q.       Were the international agents
23   responsible for reporting to the B4 or B5 offices
24   to get their assignments?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 21 of 134

                                   Colleen Koslosky

                                                                     Page 61

1               A.       They were not.          That was a separate
2    terminal.       Completely different.
3               Q.       What about the agents who worked in F
4    Terminal?
5               A.       No, sir.       That was over in F.
6               Q.       So, all the gate agents who were
7    working in the B or C Terminals were required to
8    report to the B4 and then the B5 office to receive
9    their assignments?
10              A.       That is correct.
11              Q.       Was there any way to receive your
12   assignment without reporting to that office
13   physically?
14              A.       There were some agents that would
15   text or call in.          Every so often I did that myself.
16   You know, where am I today?                Is there any briefing?
17   Where am I today?          Nothing is going on.              Your
18   gate -- here is your first flight.                   There is your
19   gate.
20              Q.       Was --
21              A.       But for the most part -- sorry.
22   Excuse me.
23              Q.       Who could you call or text to get
24   that information?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 22 of 134

                                   Colleen Koslosky

                                                                     Page 84

1    Rights; and Koslosky 3, Complaint, was marked for
2    identification.)
3    BY MR. FARRINGTON:
4               Q.       All right.        Take a look at what has
5    been marked as Exhibit 1.              Do you have it?
6               A.       Exhibit No. 1.          Exhibit No. 1, I have
7    it.
8               Q.       This is a charge of discrimination
9    that you filed with the EEOC and the Pennsylvania
10   Human Relations Commission, correct?
11              A.       That is correct, David.               Correct.
12                       MR. KOLLER:        No, that is for you.
13                       MR. FARRINGTON:           Yes, I will depose
14   Dave a different day.
15                       MR. KOLLER:        It is to the best of
16   your ability.
17                       THE WITNESS:         I am sorry.         I am just
18   learning this.         I am sorry.
19   BY MR. FARRINGTON:
20              Q.       No, it is okay.
21                       So, Exhibit 1 is the Charge of
22   Discrimination that you filed with the EEOC and
23   Pennsylvania State Agency; is that right?
24              A.       That is correct.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 23 of 134

                                   Colleen Koslosky

                                                                     Page 85

1               Q.       Is that your signature on the second
2    page of the charge?
3               A.       That is absolutely my signature, yes.
4               Q.       Who drafted -- if you know, who
5    drafted the narrative that is in this charge?
6               A.       I would say that this is my statement
7    to my attorney.         I would say that.            But who typed
8    it -- I did not type it, but this was a discussion
9    that I had with my attorney.
10              Q.       Okay.     And by signing the charge you
11   were attesting that everything that was alleged in
12   the narrative was truthful, correct?
13              A.       Absolutely.
14              Q.       And if you look at --
15              A.       Where?
16              Q.       The EEOC little stamp there.
17              A.       Yes, I do see it.
18              Q.       It looks like this was filed with the
19   EEOC on February 27, 2018?
20              A.       Okay.
21              Q.       Is that correct?
22              A.       It looks like -- well, it could be a
23   one -- I don't know.            It could be a one or a seven.
24              Q.       Do you recall if you filed this on


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 24 of 134

                                   Colleen Koslosky

                                                                     Page 86

1    February 21 or 27?
2               A.       I did not.        David filed it.           I did
3    not file it.
4               Q.       So, your testimony --
5               A.       I can't determine if that is a one or
6    a seven.        I don't know what that says.
7               Q.       Okay.     So, we think it was filed on
8    either February 21 or February 27, 2018?
9               A.       Well, there is something in there.
10   There is definitely something in there.
11              Q.       Is it one of the two things I said?
12              A.       Yes, it is either a one or a seven.
13              Q.       Okay.
14              A.       Pulling teeth, huh?
15              Q.       Is this the only Charge of
16   Discrimination that you filed against American
17   Airlines?
18              A.       Ever.
19              Q.       Is it the only Charge of
20   Discrimination that you ever filed against any
21   employer?
22              A.       Ever.
23              Q.       Take a look at Exhibit 2.                Exhibit 2
24   is the EEOC's Dismissal and Notice of Rights,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 25 of 134

                                   Colleen Koslosky

                                                                     Page 88

1               A.      Did I review it?           Did I review it --
2               Q.      Did you review it to ensure that
3    everything that was alleged in here was accurate to
4    the best of your knowledge and information?
5               A.      That is correct.
6                    (Exhibits Koslosky 4, Attendance and
7    Performance Guidelines; Koslosky 5, Overview of Social
8    Media Policy, were marked for identification.)
9    BY MR. FARRINGTON:
10              Q.      I've handed you Exhibits 4 and 5.
11   Can you confirm Exhibit 4 is the attendance and
12   performance guidelines for passenger service
13   employees?
14              A.      Yes, sir, that is what it says.
15              Q.      Do you see the effective date is
16   December 12, 2016?
17              A.      Yes, I do see that.
18              Q.      Do you agree as a customer service
19   employee you were subject to the policies reflected
20   in Exhibit 4 after September 12, 2016?
21              A.      Of course.
22              Q.      And then in Exhibit 5, the first
23   page, do you see down in the bottom right-hand
24   corner where it says American and a lot of zeroes


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 26 of 134

                                   Colleen Koslosky

                                                                     Page 89

1    and a five?
2               A.       I do.
3               Q.       Those are called Bates labels, Bates
4    Numbers.        So, the first page of Exhibit 5, which is
5    American 0005, is the company's social media
6    policy, correct?
7               A.       That is what it says.
8               Q.       And then American 6 through 9 is the
9    work environment policy, correct?
10              A.       That is right.          That is exactly
11   right.
12              Q.       Do you acknowledge that as a customer
13   service employee you were subject to both the
14   social media policy and the work environment
15   policy?
16              A.       Well, I never -- well, I never did
17   anything for the social -- that affected American
18   Airlines with the social media policy, but I
19   absolutely agree with the work environment policy.
20   Absolutely.
21              Q.       Yes.     I am not asking you to agree
22   that you violated the social media policy.
23              A.       Okay.
24              Q.       I am just asking you if you


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 27 of 134

                                   Colleen Koslosky

                                                                     Page 90

1    acknowledge that you were subject to it?
2               A.       Everybody would be subject to it,
3    sure.
4               Q.       Including you?
5               A.       Everybody.        Yes, of course.
6               Q.       As I read your Compliant --
7               A.       Yes.
8               Q.       -- I see a failure to accommodate
9    disability discrimination claim?
10              A.       Right.
11              Q.       Then I also see some claims about the
12   termination of your employment?
13              A.       Yes, that is correct.
14              Q.       I want to talk about the failure to
15   accommodate claim first.              All right.        As I read the
16   complaint, it appears that your allegation is that
17   you consistently asked to be assigned to Terminal B
18   exclusively?
19              A.       That is right.
20              Q.       As an accommodation for your
21   disability?
22              A.       That is correct.
23              Q.       Is American Airlines' failure to
24   grant that requested accommodation the basis for


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 28 of 134

                                   Colleen Koslosky

                                                                     Page 91

1    your failure to accommodate a claim?
2               A.       That is correct.             But there was a
3    circumvention that occurred that it was, in fact,
4    granted to me verbally, and then it was rescinded
5    by the same person that just the day prior had
6    given it to me.         So, yes, there is definitely a --
7    there is a problem.           There was a problem.
8               Q.       Yes, I am going to try to --
9               A.       I will try to answer the best that I
10   can, too.       I am so sorry.
11              Q.       No, you are doing fine.               If you are
12   answering thoroughly and truthfully, then you are
13   doing your job.         Okay?
14              A.       Okay.
15              Q.       This is just my chance to talk to you
16   about the claims in your lawsuit and so it's
17   important to me that I have a full and thorough
18   understanding for the basis for the claims, right?
19              A.       Sure.
20              Q.       I promise we will do a deep dive on
21   them.     I just want to make sure that I understand
22   there was one request for an accommodation; it was
23   to work exclusively on Terminal B, correct?
24              A.       That is correct.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 29 of 134

                                   Colleen Koslosky

                                                                     Page 92

1               Q.       That was your consistent request for
2    several years?
3               A.       Several years.
4               Q.       Correct?
5               A.       That's correct.
6               Q.       Is there any other requested
7    accommodation that is at issue in this lawsuit?
8               A.       That was the only -- only thing that
9    I wanted.       That was it.        And, so, no, as far as the
10   accommodation, that is all that I wanted there.
11              Q.       There was no other requested
12   accommodation that you made that the company did
13   not grant, right?
14              A.       No.    No.     In the end.         In the end.
15   In the end, because this was a process of getting
16   to the end.
17              Q.       You are talking about working in
18   Terminal B?
19              A.       That is correct.
20              Q.       My question is, did you make any
21   request other than to be exclusively assigned to
22   Terminal B that the company didn't grant?
23              A.       No.    No.     No.     Uh-uh.      That is all I
24   wanted.      That was it.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 30 of 134

                                   Colleen Koslosky

                                                                     Page 95

1    date that I had that done.
2               Q.       Was the most recent surgery the one
3    on your leg?
4               A.       That is correct.
5               Q.       Was that in 2013?
6               A.       Yes, it was.
7               Q.       Did you take a leave of absence after
8    the surgery?
9               A.       I did.      I did.
10              Q.       For how long?
11              A.       I don't even know.            Honestly, I don't
12   know.     Four months, five months maybe.                  I don't
13   really -- honest to God, I don't know.                     I don't
14   know.
15              Q.       When was the first time -- strike
16   that.
17                       So, after the surgery you experienced
18   nerve damage in the leg that was operated on,
19   correct?
20              A.       Right.      I had severe edema.             I even
21   tried --
22              Q.       That means swelling, right?
23              A.       It's swelling, but it is also -- it
24   was the nerve damage.            And it -- I had -- per


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 31 of 134

                                   Colleen Koslosky

                                                                     Page 98

1               Q.       Started instantly and has lasted
2    until today?
3               A.       Oh, yes.
4               Q.       And the edema started instantly after
5    the surgery in 2013.            And although it is somewhat
6    improved, it continues to exist until today?
7               A.       It does and it's contingent.                 Now,
8    don't misunderstand me, since I haven't been at the
9    airport as much or even running around because not
10   only did this severely affect my work environment,
11   but it has affected my private life as well.                          So, I
12   guess the point I am trying to make is that what
13   was happening at work was also happening in my
14   private life as well.            There was no deviation from
15   the two.        So, you know, I wasn't out running the
16   boardwalk in the summertime.                It wasn't even
17   possible.
18              Q.       Okay.     I think your testimony is that
19   the disability that you asked to be accommodated
20   started after the surgery in 2013?
21              A.       Right.
22              Q.       And it's the same disability that you
23   continue to have today, correct?
24              A.       I do.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 32 of 134

                                   Colleen Koslosky

                                                                     Page 99

1               Q.       And there is no other disability that
2    you asked to be accommodated?
3               A.       Absolutely not.
4               Q.       And the accommodation you requested
5    was exclusive assignment to gates in Terminal B?
6               A.       Right.
7               Q.       And that is the same accommodation
8    you requested from the beginning through --
9               A.       To the end.
10              Q.       -- through the end of your
11   employment?
12              A.       Right.
13              Q.       And when did you first request that
14   accommodation?
15              A.       Well --
16              Q.       And I have the written accommodation
17   request forms if that would help refresh your
18   recollection.
19              A.       No.
20              Q.       I was eventually going to get to
21   them.     If you want to see them now, I can show them
22   to you.
23              A.       No, that is fine.            No, that is fine.
24   I didn't even know that there was a reasonable


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 33 of 134

                                   Colleen Koslosky

                                                                    Page 110

1    don't think they could.             I don't think they had the
2    authorization to help.             And, so, finally -- I mean,
3    it was like a hamster wheel.
4                        So, finally, I was taught -- after
5    years of this -- a co-worker said to me, you have
6    put this all down in an e-mail, right?                     I am like
7    why would I write an e-mail when I can go right to
8    the person that can fix it?                She said, honey, you
9    can talk all day long.             Until you put that in an
10   e-mail, you just wasted, six, seven years of your
11   life.     And she was right.           Once I wrote that
12   e-mail, things started to change.                   Some for the
13   good.     A lot for the bad.           But then ultimately, it
14   changed for the great.
15              Q.       Okay.     Was the first formal
16   accommodation request you made in August of 2016?
17              A.       That was, I believe, the first one.
18              Q.       Okay.
19              A.       Because Mike Whittle had requested
20   that I do a second one.
21              Q.       So, you were saying that before
22   August of 2016, when you made your formal request
23   for an accommodation, you had informally asked
24   various managers to instruct Larry to put you on


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 34 of 134

                                   Colleen Koslosky

                                                                    Page 119

1    Ty Northern, Christine Thompson, Nicole Blanchard,
2    Murphy, and Terrence, did you identify the need --
3    the reason that you wanted to be assigned
4    exclusively to Terminal B?
5               A.       Always.
6               Q.       And how did you express that?
7               A.       I would say to them, as you know, I
8    had this surgery, I am having a heck of a time with
9    this edema; I am having more problems with the
10   nerve damage.        And I would tell them it is the
11   walk.     I would say it's the walking.                 It is the
12   walking on this tile, on this hard surface all the
13   way down to the C Terminal.                I said, could you just
14   see if I could be on the B Concourse.                     I will go
15   anywhere you want me to.              It is just the walking.
16              Q.       And when you went to the people that
17   you've identified about that, were you asking them
18   on a shift-by-shift basis --
19              A.       I was asking --
20              Q.       -- or were you asking them for
21   permanent assignment to Terminal B?
22              A.       I was asking them as I saw what my
23   gate was for the day.            So, depending upon how Larry
24   delegated the gate assignments -- again, it is by


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 35 of 134

                                   Colleen Koslosky

                                                                    Page 127

1    would I want to undermine them?                   You work with
2    them, you know.         If somebody has -- and but see,
3    that is just it.          That was what the problem was, is
4    that there was always excuses.                   We are doing a
5    rotation.       That is why I can't give it to you.                   We
6    are doing a rotation.            But that is not what was
7    happening.       It was -- I feel like I am in
8    kindergarten.        This is unbelievable.
9                        If you were in good graces, you were
10   in good graces, and you weren't going to pay the
11   price.     If you weren't in good graces and you
12   didn't succumb to bullying and humiliation, you
13   were going to pay the price.                And I am not a meek
14   little girl.
15                       (Exhibit Koslosky 6, Reasonable
16   Accommodation Request, was marked for
17   identification.)
18   BY MR. FARRINGTON:
19              Q.       I am handing you what has been marked
20   as Exhibit 6.        Can you take a look through that and
21   tell me when you've had an opportunity to do so?
22              A.       (Witness complies.)
23                       I have.
24              Q.       Is what has been marked as Exhibit 6


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 36 of 134

                                   Colleen Koslosky

                                                                    Page 128

1    the first written request for accommodation you
2    submitted?
3               A.       Yes, sir.
4               Q.       And is the request that is reflected
5    in Exhibit 6 an accommodation for the nerve damage
6    and edema that you had been asking for an
7    accommodation for since 2014?
8               A.       Yes, sir.
9               Q.       Is the accommodation that you
10   requested in the document marked as Exhibit 6 the
11   exclusive assignment to Terminal B?
12              A.       Yes, it does say that.
13              Q.       That is the same accommodation that
14   you had been requesting since 2014?
15              A.       Yes, sir.         It looks like it.
16              Q.       It looks like all the writing on
17   Exhibit 6 with the exception of the healthcare
18   providers' information and signature is your
19   handwriting; is that right?
20              A.       That is correct.             That was taken off
21   of my -- that was taken off of my -- all of the
22   pathology reports and everything from the
23   University of Pennsylvania.                 This is what I did so
24   that I didn't tie up my physician.                     So, I would


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 37 of 134

                                   Colleen Koslosky

                                                                    Page 129

1    give it to the girls filled out -- my doctors loved
2    it -- they would go over all the information and
3    then they would sign it or they would not.                       They
4    would make an adjustment.              But everything came off
5    of what had happened.
6               Q.       Right.      So, you filled out this form?
7               A.       I did fill out this form.
8               Q.       And the limitation that your doctor
9    certified was with respect to excessive walking and
10   heat; is that correct?
11              A.       That is right.          Because of the edema
12   when you have excessive heat, especially in the
13   summertime, the edema does affect it.
14              Q.       Other than meeting -- did you have
15   occasion to need to be outside for your job
16   responsibilities?
17              A.       The only thing that I had to do to be
18   outside of my job responsibilities was to meet an
19   airplane on the jetway.             That was it.
20              Q.       You weren't asking to be excused from
21   meeting airplanes on the jetway, were you?
22              A.       No, absolutely not.             I could do all
23   of my functions.          Every single thing I could do.                  I
24   just didn't want all of that walking.                     I didn't ask


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 38 of 134

                                   Colleen Koslosky

                                                                    Page 130

1    for anybody to lift anything.                 I didn't ask anybody
2    for anything.
3               Q.       When you say you didn't want to do in
4    terms of walking, it was walking from Terminal B to
5    Terminal C?
6               A.       Only because that is where we checked
7    in, right.       That was it.
8               Q.       That was the excessive walking,
9    right, from Terminal B to Terminal C?
10              A.       Right.      Well, it was all the way at
11   the end of C.        That is the problem.              Now, sometimes
12   I would be -- because at the top of C Terminal you
13   have 16, 17, 18.          You have the gates up there.                I
14   was really good on big, heavy airplanes.                      So, I
15   would sometimes -- a lot of times, actually -- I
16   would be given heavy flights.
17                       But, again, body for body.                There is
18   there is no difference.             It didn't matter.
19              Q.       Yes, I am just -- so, you filled this
20   out.    I just want to make sure I understand when
21   you wrote excessive walking was your limitation?
22              A.       It was excessive walking.
23              Q.       What you meant was the walk from
24   where you had to check in at the B Terminal to the


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 39 of 134

                                   Colleen Koslosky

                                                                    Page 131

1    C -- to the gate to the C Terminal?
2               A.       Right.
3               Q.       Because you had told me earlier if
4    you knew you were assigned to C and could get off
5    the said shuttle bus at C Terminal, that wouldn't
6    be excessive walking?
7               A.       Well, no, because all I would have to
8    do -- if they had allowed me to pick up a phone and
9    call and if they were to say to me, your gate
10   assignment is C26 --
11              Q.       No problem?
12              A.       -- no problem.          That would be
13   fantastic.
14              Q.       And no one told you that you weren't
15   allowed to call the office for your gate
16   assignment, right?
17              A.       No, it wasn't done except when people
18   were running late.           Because -- because we had
19   briefings in the morning.              Nine times out of ten,
20   we had briefings in the morning.
21              Q.       Hold on a second.            Because I asked
22   you this question earlier.               I asked you what else
23   you had to do besides go in there and get your gate
24   assignment, and you told me there wasn't anything


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 40 of 134

                                   Colleen Koslosky

                                                                    Page 136

1    discussion about this situation.                 And I may have
2    very well have gotten a letter in the mail.                      Very
3    good chance that I got a letter in the mail.                      Well,
4    obviously, I did get a letter in the mail, but my
5    conversations with Naomi were face to face.
6               Q.      Okay.     During the conversations that
7    you had with Naomi, did you discuss the concept of
8    using your seniority to bid into a different
9    customer service function that would not require
10   excessive walking?
11              A.      Absolutely not.          And there was no
12   reason to because what I was asking for was
13   nothing.
14              Q.      That is not my question.
15              A.      No, I didn't.         I didn't discuss it
16   with her, no.       No.     Bob Purey, yes.
17                   (Exhibit Koslosky 7, Letter, was marked for
18   identification.)
19   BY MR. FARRINGTON:
20              Q.      You've been handed Exhibit 7.                 Can
21   you confirm that this is an August 22, 2016 letter
22   from Naomi Postlewait?
23              A.      I can.
24              Q.      And did you receive this by mail?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 41 of 134

                                   Colleen Koslosky

                                                                    Page 140

1    had been denied?
2               A.       After she told me.
3               Q.       That was your response?
4               A.       I wasn't being snarky.              The point I
5    am trying to make is nobody can plead your case
6    better than yourself.            So, that is why I decided to
7    see Beth.
8               Q.       So, during any of your conversations
9    with Naomi, did you discuss or did Naomi suggest
10   that you bid into a function that did not require
11   excessive walking?
12              A.       But the job that I had already did
13   not require excessive walking.
14              Q.       That wasn't my question.
15              A.       The question was I don't believe that
16   she did, but there is a possibility that she may.
17              Q.       I think I understand what you are
18   saying.      You are saying that is not something that
19   you would have considered if it had been raised
20   with you; is that correct?
21              A.       That is absolutely correct.                 I never
22   would have considered that.                Because what I was
23   asking -- am I allowed to speak?                  Am I allowed?       I
24   don't want to interrupt you.                I am trying to be


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 42 of 134

                                   Colleen Koslosky

                                                                    Page 141

1    good.     I am trying.        He gave me a lecture about
2    that, by the way.           No.    No.
3               Q.       You are saying no, you would not have
4    considered --
5               A.       I absolutely would not have
6    considered that.          There is a reason I would not
7    have considered that.
8               Q.       What is the reason?
9               A.       I don't even know if we are there
10   yet.    Are we going to go there?
11              Q.       To where?
12              A.       To Beth Norton.           Are we there yet?
13   In other words, you have a format that you want to
14   follow.      I don't want to, you know, go off on a --
15   if you want to address something.
16              Q.       Yes --
17              A.       Because we can go there, because that
18   was the next step was Beth Norton.
19              Q.       I am anticipating we are going to get
20   there pretty soon.
21              A.       Okay.
22              Q.       I was just trying to understand the
23   conversation that may or may not have happened with
24   you and Naomi about bidding into a CSA function


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 43 of 134

                                   Colleen Koslosky

                                                                    Page 144

1    services is under, I believe, the ticket counter.
2    I believe.       I didn't say that?
3               Q.       I think you said you thought it was,
4    but you didn't know.
5               A.       I am not absolutely sure.                They were
6    taking me out of my area of expertise for no
7    reason.
8               Q.       Well, nobody took you out of your
9    area of expertise.
10              A.       No, they didn't.             They didn't, thank
11   God.
12              Q.       I'd like to continue on the timeline,
13   but I just want to make sure we are on the same
14   page, that working at the ticket counter would not
15   require excessive walking.
16              A.       It does not require excessive
17   walking, not at all.            Excessive standing.             You are
18   standing for eight hours a day, seven hours a day.
19              Q.       Your accommodation request didn't
20   mention you had any problems with standing?
21              A.       No, it didn't.          That is exactly right
22   because the reason is when I work the gates, I have
23   the opportunity to sit down.
24              Q.       You can agree American Airlines can


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 44 of 134

                                   Colleen Koslosky

                                                                    Page 145

1    only rely on the information your doctor submitted,
2    right?
3               A.       Oh, of course.          I am saying on a
4    personal level, it afforded me the opportunity to
5    sit down.       That was just a luxury that came with
6    the gate position.
7               Q.       And re-check would not require
8    excessive walking, would it?
9               A.       I don't believe it would.                No, not at
10   all.     Uh-uh.
11              Q.       Special services, that is a sedentary
12   position?
13              A.       You are sitting all day.               Absolutely.
14              Q.       Special services wouldn't require
15   excessive walking?
16              A.       That is correct.
17              Q.       And working in POC, would that
18   require excessive walking?
19              A.       Yes, it could.
20              Q.       If you were a runner?
21              A.       See, you know our job better than you
22   are leading on to.           That is absolutely correct.
23   However, from what I --
24              Q.       Please.      Go ahead.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 45 of 134

                                   Colleen Koslosky

                                                                    Page 146

1               A.       From what I understand, that is -- I
2    think that is on a rotating level.                     Rotating, is
3    that correct, they do that on a rotation?
4               Q.       Well, my understanding is that it is
5    voluntary and that it's not -- if someone doesn't
6    volunteer for it, then it is on a rotation.
7               A.       Got it.       See, I did not know that.
8    But I did know, from what I heard from POC agents
9    that we ran into, everything was on a rotation.
10   So -- but it could have changed.
11              Q.       If you were working in POC and did
12   not have runner responsibilities, that wouldn't
13   require excessive walking, right?
14              A.       Absolutely.          That is absolutely
15   correct.
16              Q.       Okay.      So, we have gotten --
17              A.       And --
18              Q.       Was there anything you needed to
19   clarify?
20              A.       No.
21              Q.       So, we've gotten up to Naomi telling
22   you sometime in or around August of 2016 that
23   American Airlines was not going to grant the
24   accommodation request of exclusively working gates


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 46 of 134

                                   Colleen Koslosky

                                                                    Page 147

1    in the B Terminal?
2               A.       That is correct.             Obviously.
3               Q.       And your response to that was to
4    approach Beth Norton; is that correct?
5               A.       Right.      Right.
6               Q.       How long after Naomi told you that
7    the request was denied did you approach Beth?
8               A.       I would say it was relatively soon.
9    I don't know the dates.             I cannot tell you dates.
10   Maybe --
11              Q.       Within a week or so?
12              A.       I would say probably less than a
13   week.
14              Q.       And how did you -- did you have a
15   meeting with Beth?
16              A.       I did.
17              Q.       How did you get around to that
18   meeting?
19              A.       Well, her office at the time was
20   under B6.       And I called -- I think I stopped by.                     I
21   think I stopped by.           I think I stopped by, and I
22   said, you know, is there any chance that I could
23   see Beth, and I think that her secretary set up a
24   time that she was available to see her.                      And I did.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 47 of 134

                                   Colleen Koslosky

                                                                    Page 148

1    And I went and saw her.
2               Q.       And how many meetings did you have
3    with Beth about your accommodation request?
4               A.       Just one.       That was all it took.
5               Q.       Was that meeting in Beth's office?
6               A.       That was in Beth's office -- in her
7    old office.
8               Q.       Who was present for the meeting?
9               A.       Just she and I.
10              Q.       How long did the meeting last?
11              A.       30 minutes -- less than 30 minutes.
12   And I just want to preface this, is that I am -- I
13   was very foolish not to take a union representative
14   with me.        I trusted my director.             I trusted her,
15   and so it was just she and I.
16              Q.       Okay.     And, so, presumably, you told
17   her about the accommodation, and Naomi had denied
18   it?
19              A.       I did.      It was great.          It was a great
20   little meeting, very quick.
21              Q.       Tell me what you remember about it.
22              A.       I remember a lot about it.                I was
23   sitting in a chair.           She was sitting at her desk.
24   I went over the accommodation.                   I said, you know --


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 48 of 134

                                   Colleen Koslosky

                                                                    Page 149

1    and I explained everything that I explained to you
2    that, you know, it's the excessive walking.                           I
3    showed her the surgery pictures.                  We talked about
4    the picture of the dog on her wall.                    And she was an
5    Irish girl, I am an Irish girl, so, you know, I
6    said -- I told her, I said, I don't care where you
7    put me.      I know I am being -- I am just repeating
8    myself over and over.            I am sorry.
9                        I said, I don't care where you put
10   me.    I don't care.         I am a gate agent.            I am a
11   really good gate agent.             Anywhere on B.           Doesn't
12   matter to me.        Just don't have me do all that
13   excessive walking.           And at the end of -- during the
14   midst of the conversation she said to me -- I
15   remember she adjusted herself in the chair.                           I
16   remember her adjusting herself in the chair.                              She
17   said, well, that is not exactly how Naomi explained
18   it to me.      And she said to me -- and I said to her
19   that is why I decided to come down and talk to you
20   directly.      And she stood up and she said, Colleen,
21   this is not unreasonable.              What you are asking for
22   is not unreasonable.            And she was very formal about
23   the way that she said it.              She said, I will grant
24   this accommodation.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 49 of 134

                                   Colleen Koslosky

                                                                    Page 157

1    to see you in her office.
2               Q.       Did you realize within a week of your
3    meeting with Beth Norton that your request to be
4    assigned exclusively to Terminal B was not, in
5    fact, being accommodated?
6               A.       I kind of figured that out.                 Now, I
7    am at my wits' end.           I am out of my mind because
8    now --
9               Q.       I just want to get the timing down.
10              A.       Yes.     I would probably say in less
11   than a week that there was definitely -- there was
12   something going on.           I don't know what it was.               I
13   hadn't a clue.         I had an inkling based upon what
14   was said to me.
15                       But you have to understand something,
16   Larry had -- he had utter and complete disdain for
17   me.    I mean, this is a man, as I've said to you
18   before, who said to me when I walked into the B4
19   office to drop off the end of the day's
20   paperwork -- this is a man that said to me in
21   front -- and I can't tell you who saw it because it
22   was all new hires, they were all fresh faces -- who
23   said to me -- I didn't say anything, I just walked
24   in the door and he said, one day I am going to see


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 50 of 134

                                   Colleen Koslosky

                                                                    Page 160

1               Q.       Okay.     I want to respect your
2    request for lunch.
3               A.       Well, if you want to keep going, I
4    will keep going.
5                        MR. FARRINGTON:           We will take a break
6    for lunch.       I want to respect that, and we will
7    take a break.        I want to make sure I -- we are
8    going to pick up on the timeline where we left off,
9    which was you realizing that the accommodation you
10   thought Beth had granted was not, in fact, being
11   implemented, and I believe that was sometime around
12   the end of August 2016, correct?
13                       THE WITNESS:         Yes.     I do believe that
14   is true.
15                       MR. FARRINGTON:           Okay.     We will pick
16   up there.
17                       THE WITNESS:         Okay.      Lunch break.
18                       (Break taken.)
19   BY MR. FARRINGTON:
20              Q.       We are back on the record after a
21   lunch break.        Were you able to get something to eat
22   or do whatever you wanted during lunch?
23              A.       Yes, sir, I was.
24              Q.       So, where we left off was you


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 51 of 134

                                   Colleen Koslosky

                                                                    Page 161

1    realized around the end of August 2016, that
2    despite Beth Norton telling you your request to
3    work exclusively on Terminal B was granted that, in
4    fact, it had not been granted.
5               A.       Well, the paperwork to approve it,
6    she didn't fulfill.           She didn't give the okay for
7    it to go forward.
8               Q.       Right.      You got a letter from Naomi
9    Postlewait saying the request was denied.                       You had
10   a conversation with Beth that left you with the
11   impression that she had changed her mind.                       And
12   then, you described the circumstances under which
13   you quickly realized that request had not, in fact,
14   been granted?
15              A.       That is correct.
16                    (Exhibit Koslosky 8, Reasonable Request
17   Accommodation, was marked for identification.)
18   BY MR. FARRINGTON:
19              Q.       You've been handed a document that
20   has been marked as Exhibit 8.                 Can you confirm this
21   is a second Reasonable Accommodation Request form
22   that you submitted in July of 2017?
23              A.       Yes, sir.
24              Q.       All right.        What happened between


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 52 of 134

                                   Colleen Koslosky

                                                                    Page 169

1               Q.       So, let's get the timeline down
2    because I think that e-mail occurred after your
3    second written request for accommodation was
4    denied?
5               A.       It did.
6               Q.       Let's break this into --
7               A.       Sections.
8               Q.       -- bite-sized pieces, okay.
9                        So, turning back to Exhibit 8, this
10   is the second and last written Reasonable
11   Accommodation Form that you submitted, right?
12              A.       That is right.
13              Q.       And what you -- the disability that
14   you were attempting to -- that were -- strike that.
15                       The disability that you were
16   requesting an accommodation for is the same
17   disability that you were requesting an
18   accommodation for --
19              A.       Originally, I guess.
20              Q.       -- in the document that was marked as
21   Exhibit 6, right?
22              A.       That is correct.
23              Q.       In the accommodation you were
24   requesting in the form that you submitted that has


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 53 of 134

                                   Colleen Koslosky

                                                                    Page 170

1    been marked as Exhibit 8, it's the same
2    accommodation that you were requesting in the form
3    that was marked as Exhibit 6, right?
4               A.       Yes, sir.
5               Q.       And it is the same disability and
6    same accommodation request that you had been asking
7    for since 2014?
8               A.       Yes, sir.
9               Q.       Who filled out the form that has been
10   marked as Exhibit 8?
11              A.       This was filled out by a nurse.                   This
12   was filled out -- my sister Heather filled this
13   out.    My sister is a nurse.              I filled this out for
14   Dr. O'Brien, and I brought this to her office.                         I
15   had an appointment with her.                And she looked -- I
16   had an examination.           She was working on my hips,
17   and she knew everything that was going on.                       Doctor
18   -- she knew everything from the beginning,
19   everything.
20                       And she looked over it, and she said
21   this is -- this is actually better than what any of
22   my people can write, and she signed it.
23              Q.       So, your sister filled out the form,
24   and Dr. O'Brien signed it?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 54 of 134

                                   Colleen Koslosky

                                                                    Page 175

1    no way -- I was spinning my wheels again.                       So,
2    anyway -- okay.
3               Q.       So, you spoke to Bob Yuri by phone
4    about your accommodation request, correct?
5               A.       I did talk to Bob Yuri on the phone
6    to answer your question that you originally asked.
7    I did.     I am sorry.
8               Q.       And when you spoke to Mr. Yuri by
9    phone --
10              A.       Yes.
11              Q.       -- did you discuss with him the idea
12   of bidding into another customer service function
13   that would not require long-distance walking?
14              A.       He brought it up.            It was -- and I
15   knew exactly what was happening.                  It was so
16   ridiculous.        I was being circumvented at every
17   single turn.        Again.      Again, what I was asking for
18   as was told to me by a vice-president was nothing,
19   and consequently, he brought it up.                    He brought up
20   the fact that, well, Beth is going to take you off
21   the gates, and she is going to put you into POC or
22   the ticket counter.           And I said, why would you ever
23   do that?        I am not asking for anything.                I am just
24   asking to get my schedule, walk upstairs, go to my


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 55 of 134

                                   Colleen Koslosky

                                                                    Page 176

1    gate, and stay there or in the general area.                          I was
2    not one to walk all over the airport.                     It wasn't
3    happening.
4                        And then he proceeds to tell me,
5    well, we are giving you what you want, it is
6    just -- we are giving you -- I can't word it
7    properly.       We are giving you what you want or
8    something to the effect of we are trying to
9    accommodate you, but it is just not what you want.
10                       And I said, no, you don't understand.
11   What I am asking -- why would you take somebody who
12   is a flipping superstar on the gates, take her off
13   the gates when all I am asking -- that is it -- I
14   am not asking for anybody to help me -- why would
15   you take me off the gates to take me and put me
16   into training for however long, two, four, six
17   weeks when all you have to do is say put her
18   somewhere on B.         That is all you have to do.                   I
19   don't care what you do.             They were circumventing
20   me.    It was so obvious.           So --
21              Q.       Go --
22              A.       Go ahead.       No.
23              Q.       I just want to circle back to
24   something you said.           So, when Bob raised the idea


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 56 of 134

                                   Colleen Koslosky

                                                                    Page 177

1    of moving to you a customer service function that
2    did not require long-distance walking or excess
3    heat?
4               A.       Right.
5               Q.       He told you that for any function
6    that you weren't then presently trained in, the
7    company would provide training?
8               A.       They would provide training, but that
9    was my argument.          I said, why would you take -- I
10   am not asking for anything.                I am asking just to
11   put her on any gate on B, doesn't matter where it
12   is.     I am not going anywhere.              I am not walking the
13   airport.        I am not going over to C Concourse to my
14   favorite restaurant.            I am not doing -- okay.
15              Q.       I understand that you rejected the
16   idea.
17              A.       I did reject it.
18              Q.       You rejected the idea of taking
19   another customer service function, one that would
20   not require long-distance walking, correct?
21              A.       That is correct.             However, I want to
22   also say, if I may -- Why?               What was Beth doing?
23   Why was she doing this?             What I was asking for was
24   nothing.        Why did she flat-out deny our meeting,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 57 of 134

                                   Colleen Koslosky

                                                                    Page 186

1    accommodating me to accommodate me because -- they
2    were circumventing me staying on the gate when
3    there was no reason to circumvent me.                   I wasn't
4    asking for anything except to stay on the gates.
5    That is it.      That is all I was asking for.                 And
6    remember, we are just talking a body for a body.
7    That is all we are doing.
8                    (Exhibit Koslosky 9, E-Mail, was marked for
9    identification.)
10   BY MR. FARRINGTON:
11              Q.      I have handed you Exhibit 9, a
12   two-page exhibit.         The first page is Bob Yuri's
13   July 26, 2017 e-mail to you and an attachment,
14   which is the second page, on July 25, 2017, a
15   letter on American Airlines letterhead, correct?
16              A.      Yes, sir that is correct.
17              Q.      And you received the documents that
18   have been marked as Exhibit 9 on or about July 26,
19   2017?
20              A.      Yes, sir.
21              Q.      In the e-mail, the written response
22   to your accommodation request was that the request
23   to work exclusively on Concourse B was denied,
24   right?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 58 of 134

                                   Colleen Koslosky

                                                                    Page 196

1    appeasing.       I said Beth, I am so sorry.                 I didn't
2    realize that American Airlines did everything via
3    e-mail.      That was my circumventing.                That was my
4    deflection.       And I was just waiting for those
5    words.     I said Beth, did I get the accommodation?
6    Did you approve -- did you -- did you approve the
7    accommodation?         And she said, yes, I have approved
8    it.     I knew Olympia approved it.               She was making
9    Beth call because she's the one that was
10   circumventing for me for almost two years.
11              Q.       You do understand that Olympia
12   approved the accommodation request ultimately,
13   right?
14              A.       I do.     I do.      She did approve it.
15   And if you look at the e-mails that Olympia and I
16   shared back and forth, I was -- I was so grateful
17   to her.      I mean, it was over, and it was done.                    I
18   had my protection.           He couldn't hurt me anymore.                 I
19   could go and do my job.             I could clean my gate and
20   clean my drawers and vacuum my jetway.                     It was
21   over.     It was done for me.
22              Q.       What --
23              A.       But I just -- oh, then -- and then
24   she friend-requested me on Facebook, which is the


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 59 of 134

                                   Colleen Koslosky

                                                                    Page 203

1    Theresa's name -- Theresa came up to me, and said I
2    saw it.      She said, you got your accommodation.
3                        I said, I know.           I can come back to
4    work again.       I can't believe it.             He can't bother
5    me anymore.       I am done.        It is over.
6               Q.       And from -- I can tell you --
7               A.       May I ask a question if you don't
8    mind?     Did that e-mail, did that go out to
9    supervisors only?
10                       MR. FARRINGTON:           Mr. Koller can share
11   the e-mail with you.
12                       THE WITNESS:         Okay.
13   BY MR. FARRINGTON:
14              Q.       From the phone call you received from
15   Beth notifying you that you would be assigned
16   exclusively to Terminal B through the end of your
17   employment, were you assigned to Terminal B
18   exclusively?
19              A.       I sure was.        It was fabulous.
20              Q.       After you received the call saying
21   you were going to be assigned to Terminal B through
22   your termination date, did you have any other
23   discussions at work about your accommodation?
24              A.       No.    It was just simple


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 60 of 134



                                                                     Page 226

1             IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
2
                                       -       -   -
3
     COLLEEN KOSLOSKY                          : CIVIL ACTION
4                Plaintiff                     :
                                               :
5               vs.                            :
                                               :
6    AMERICAN AIRLINES, INC.                   :
                 Defendant                     : NO. 2:18-cv-04654-PD
7
                                       -       -   -
8
                       Tuesday, May 7, 2019
9
                                       -       -   -
10
                                  VOLUME II
11
                                       -       -   -
12
                 Oral deposition of COLLEEN KOSLOSKY,
13
     taken at the offices of Veritext Legal Solutions,
14
     Mid-Atlantic Region, 1801 Market Street,
15
     Suite 1800, Philadelphia, Pennsylvania 19103,
16
     commencing at 3:54 p.m. before Adrienne L.
17
     O'Brien, Court Reporter and Notary Public.
18
19                            -    -       -
20
21
22
                VERITEXT LEGAL SOLUTIONS
23                 MID-ATLANTIC REGION
              1801 Market Street, Suite 1800
24           Philadelphia, Pennsylvania 19103

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 61 of 134



                                                                    Page 227

1    A P P E A R A N C E S:
2
3                 KOLLER LAW, LLC
                  BY:      DAVID M. KOLLER, ESQUIRE
4                 2043 Locust Street, Suite 1B
                  Philadelphia, PA                19103
5                 215.545.8917
                  davidk@kollerlawfirm.com
6                 Representing the Plaintiff
7
8                 FISHER & PHILLIPS LLP
                  BY:      DANIEL F. FARRINGTON, ESQUIRE
9                 7501 Wisconsin Avenue, Suite 1220W
                  Bethesda, MD             20814
10                301.951.1538
                  dfarrington@fisherphillips.com
11                Representing the Defendant
12
13
14
15
16
17
18
19
20
21
22
23
24

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 62 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 231

1                                     - - -
2                          COLLEEN KOSLOSKY, after having
3    been previously duly sworn/affirmed, was examined
4    and testified as follows:
5                                     - - -
6                                EXAMINATION
7                                     - - -
8    BY MR. FARRINGTON:
9               Q.         You were suspended from work in
10   September of 2017, correct?
11              A.         I was.
12              Q.         All right.         And at the time of
13   your suspension, you had a Facebook account,
14   correct?
15              A.         And I still do, yes, sir.
16              Q.         And at the time you were suspended
17   or at least immediately before then, your Facebook
18   account was open to the public, correct?
19              A.         Totally open to the public.
20              Q.         There are options that allow
21   Facebook users to choose who can or can't see
22   their information, correct?
23              A.         Right.      That is correct, yes.
24              Q.         And you elected to set your


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 63 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 233

1                Q.         Okay.      You're not suggesting that
2    Facebook users couldn't tell that you worked for
3    American Airlines, are you?
4                A.         No, they -- well, if you were just
5    scrolling down, you would never know I worked for
6    American, ever.
7                                      - - -
8                           (Whereupon, the document was
9    marked, for identification purposes, as Exhibit
10   Koslosky-11.)
11                                     - - -
12   BY MR. FARRINGTON:
13               Q.         I'm handing you Exhibit-11.
14               A.         Okay.
15               Q.         Exhibit-11 is a Facebook post that
16   you made on January 17th, 2017, correct?
17               A.         Is it 2017?          I don't know.
18               Q.         Well, it's your post.                You wrote,
19   quote --
20               A.         Well, yeah, I know.               It was so
21   exciting.        Is it --
22               Q.         Let me finish my question.
23               A.         Okay.      I'm just trying to...
24               Q.         So, you wrote, quote, Holy Shit!


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 64 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 234

1    Look what I just found in my company e-mail!!
2               A.         Uh-huh.
3               Q.         And then you attached to that a
4    message from Doug Parker dated January 17th, 2017,
5    with the American Airlines logo, correct?
6               A.         Oh, absolutely.
7               Q.         Do you agree that anyone looking
8    at this post could tell that you were an American
9    Airline employee?
10              A.         If -- can I expand?
11              Q.         Can you answer my question first?
12              A.         Yes, if they went digging real,
13   real, real, real deep.              There was nothing.                The
14   normal person that goes through Facebook would
15   never have known, ever would have known.                        They
16   would have had to have spent hours and hours and
17   probably days, to tell you the truth, to go
18   through to find that posting.                  There was nothing.
19   If you were to go through -- if you were to -- if
20   you were just scrolling through and saw my name,
21   you never would have known who I worked for, ever,
22   except for this (indicating), which was --
23              Q.         Right.      "This" being Exhibit-11?
24              A.         Yes, exactly.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 65 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 235

1                Q.         And anyone who saw Exhibit-11
2    could tell you worked for American Airlines,
3    right?
4                A.         Right, and I forwarded it to all
5    of these employees.
6                Q.         And you were friends with American
7    Airlines' coworkers on Facebook, correct?
8                A.         I was.
9                Q.         Approximately how many?
10               A.         Well, I'm going to have to -- just
11   to expand, I was friends with -- now with -- now
12   looking at it past that initial report, probably
13   about 85 or 95 people.
14               Q.         Coworkers?
15               A.         Yeah.
16               Q.         In September of 2017?
17               A.         Absolutely.
18               Q.         And they all knew you worked for
19   American Airlines, right?
20               A.         Well, we all knew each other
21   worked for American Airlines, yeah.
22                                     - - -
23                          (Whereupon, the document was
24   marked, for identification purposes, as Exhibit


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 66 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 236

1    Koslosky-12.)
2                                     - - -
3    BY MR. FARRINGTON:
4               Q.         I'm handing you what's been marked
5    as Deposition Exhibit-12.                It's Bates labeled
6    American 401.         This is something that you posted
7    to Facebook, correct?
8               A.         Absolutely, I did.
9               Q.         And we're going to have it as an
10   exhibit, so I see no reason to read it into the
11   record.      Can you explain to me why you posted
12   what's been marked as Exhibit-12?
13              A.         I can explain it.             All of this
14   fiasco started during the NFL's kneeling during
15   the National Anthem.             This was a paraphrase that I
16   lifted from Dan Pflaum from a gentleman by the
17   name of -- who originally said it, this -- who was
18   Professor Walter Williams.                Professor Walter
19   Williams is a Professor of Economics out of George
20   Mason University -- I sent David the original
21   article -- and that was it.                 It was -- it was
22   poignant.       I thought it was very poignant.                       I was
23   thinking of my ancestors, you know.                     I was
24   thinking about these spoiled brat NFL players who


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 67 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 238

1    time 1,100, had anything to say about it.
2    Nothing.      They thought -- they understood exactly
3    what -- where it was coming from.                    But that's my
4    point.     You can't have a knee-jerk reaction about
5    things unless you know where they're coming from.
6                          And that's exactly what this kid
7    did, this Jacob Marrero who is in Philadelphia --
8    well, I'll let you go through that.                     I'm not going
9    to -- you can go through that at your leisure.
10   (Indicating.)         What he did -- and he's a punk.                 I
11   don't know him.          I've only spoken to him one time
12   on the telephone, and that's when he was our -- he
13   was part of the Union Executive Board years and
14   years ago.       He took this post that he knew nothing
15   about, he didn't know the origins, where it came
16   from, who wrote it, where the article -- he knew
17   nothing.      He took that post and others -- they
18   cherry-picked them.            They went through the posts,
19   and they -- he shared them with the entire
20   company.      He forwarded this to everybody.
21   (Indicating.)
22                         Then what wound up happening --
23   okay.     Do you have any other questions about this,
24   or do you want me to continue on?                    (Indicating.)


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 68 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 241

1    was picked up by a twice terminated American
2    Airlines' employee by the name of Ty Maddox.                          It's
3    all in here.        (Indicating.)           I don't know Ty
4    Maddox.      The only reason I know the name Ty Maddox
5    is because of Ty Maddox at work.                    Ty Maddox --
6                          MR. KOLLER:         Wait.      I just need to
7    interrupt because Dan's question to you was did
8    you write the post because it was poignant.
9                          THE WITNESS:          I did write this --
10                         MR. KOLLER:         I know, but you've
11   got to listen to my point.
12                         THE WITNESS:          All right.
13                         MR. KOLLER:         I think you answered
14   the question five minutes ago.                   So, stop and let
15   him ask the next question.
16                         THE WITNESS:          I'm sorry, excuse
17   me.
18                         MR. KOLLER:         And just focus on his
19   question and answer his question.
20                         THE WITNESS:          I will.       I'm sorry.
21   BY MR. FARRINGTON:
22              Q.         Do you understand how saying black
23   Americans should get down on their knees and give
24   thanks that their ancestors were brought here as


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 69 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 242

1    slaves could be interpreted as racially
2    insensitive?
3               A.         Not if somebody knew where it
4    originally came from, not if they knew originally
5    where it came from.            I was crucified based on
6    things that people don't know.                   He could have
7    asked me about it.            Because I said to him, I said,
8    have you lost your mind?               Reread it.         Reread it.
9    Reread what it says.             This was all about the NFL
10   players.        That's all it was.           That's all it was.
11   It was just about being grateful for being in this
12   country.        That's it.
13              Q.         So, no, you don't understand how
14   this could be interpreted to be racially
15   insensitive?
16              A.         I guess if somebody was looking
17   for racism, yeah.
18              Q.         And I don't want to jump ahead --
19              A.         No, it's okay.
20              Q.         -- we're going to talk about the
21   complaints that this post and others --
22              A.         Oh, you bet.
23              Q.         -- generated.
24              A.         Uh-huh.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 70 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 243

1               Q.         You're aware that they generated a
2    significant volume of complaints, right?
3               A.         Well, yeah, and we're going to
4    tell you how it got to that point.
5               Q.         Okay.      Do you have an explanation
6    for why so many people interpreted this post to be
7    racist in nature?
8               A.         Yes, I do, because of the way
9    Jacob spun it.         He was the one that saw it.                    He
10   was the one that opted to tag everybody and to
11   forward it to everybody.               It was the way that it
12   was spun.        And if you get to learn about Jacob
13   Marrero, you will understand that everything is
14   race related.         There isn't a thing that's race
15   related.        There was no malice in this.                 There was
16   no laughing about this.               This was -- I knew
17   exactly where it came from.                 So -- and again, to
18   reiterate, so did other people, Walter Williams,
19   Walter Williams said that, that sounds just like
20   Walter Williams.
21                         So, I don't have knee-jerk
22   reactions.        When I read something, I don't just
23   have a knee-jerk reaction.                I want to understand
24   about it, so -- or where it came from or what did


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 71 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 244

1    you mean by that.           But that's not what Jacob did.
2    What Jacob did is he spun it and shared it with
3    every flipping employee he had, he -- and friends
4    and nonemployees.           I mean, he shared it far and
5    wide.
6               Q.         So, your view is that without
7    spin, just looking at the post that's been marked
8    as Exhibit-12 in isolation, no reasonable person
9    could view that as racially insensitive?
10              A.         Well, nobody that I knew did.                   And
11   my -- I've got -- I have Hispanic, black, Latino,
12   there was not one person, not one, that had a
13   problem with that.            Not one person had a problem
14   with that because they understood it.                       They
15   understood what they were -- what he was saying.
16   But Jacob twists everything.                 He's -- look, I'm
17   not trying to deflect, I'm am not.                     I'm not trying
18   to say -- but you don't take something that you
19   don't understand or at least question it, well,
20   what did you mean by that, I don't understand what
21   you mean by that, and share it with the entire
22   company.        Are you kidding me?            I went viral.          I
23   went all over the world.
24                         This was -- oh, my God.                It's --


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 72 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 246

1    I don't know these people.                I don't know any of
2    these people.         I may know maybe ten of them, but I
3    don't know any of these people.                   They were out to
4    destroy me based on something that they didn't
5    understand or something that they didn't know.
6    That -- I can't be responsible for that.
7                          If he had an issue with me, he
8    should have messaged me and we could have had a
9    discussion, but if he -- this went all over the
10   world.     He put -- it was Ty Maddox that actually
11   made it go viral and employees that were egging
12   them on to make it go viral because they didn't
13   understand.        And if you read the responses to this
14   from other people, my friends, not posts that kind
15   of got a little crazy, there's nothing.                        There is
16   absolutely nothing.            There's nothing there.
17              Q.         Okay.      So, your view is that
18   anyone who views the post that's been marked as
19   Exhibit-12 as racially insensitive just doesn't
20   understand it?
21              A.         They don't know where it came
22   from.     You have to know where it came from.                        That
23   was my argument to him.               You don't know where
24   this -- you don't understand where this came from.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 73 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 252

1    great cops out there.             So, this had nothing to do
2    with my coworkers, nothing, but Jacob -- Jacob
3    took it and he spun it.
4                          Again, none of the people that
5    were on my Facebook page, none of them took
6    offense to it because they understood that it was
7    true.     That's it.        I can't be responsible for how
8    people feel, as they can't be responsible for
9    what -- how I feel.            But I'm not going to destroy
10   your life, your career, I'm not going to destroy
11   it.     I'm going to shrug my shoulders and move on
12   because I have a nice relationship with them.                         I
13   don't even know Jacob.              I don't know this guy.                I
14   don't know the people that reported it.                        Because
15   this is what he does.             And I will show you proof
16   of that, what he's always done.
17              Q.         So, what is your explanation for
18   why people interpreted the post that's been marked
19   as Exhibit-13 as racist and complained about it?
20              A.         Because -- I believe because of
21   the way that he spun it.               The person that put --
22   collaged these posts -- he took -- cherry-picked
23   them, cherry-picked them, collaged the posts
24   and put them on the official American Airlines


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 74 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 253

1    Facebook and Twitter page, the official -- yeah,
2    both of them.         He pretended to be a passenger.                  He
3    had been terminated once in Philadelphia.                         He had
4    be terminated once in Miami.                 And then there's
5    this Rachel McCray and she was another one that
6    put them on the Twitter page, my name, my face, my
7    base, everything.
8                          And it -- Ty Maddox had a score to
9    settle with American, didn't he?                    He had a score
10   to settle, and he did.              And I was worried -- when
11   I got ahold of Olympia when these animals -- these
12   animals were all over me over nothing, nothing, I
13   wasn't attacking anything, I was worried about the
14   brand.     I was worried about the brand because I
15   knew what he was doing.               I knew what Ty Maddox was
16   doing because I knew that he had been terminated
17   twice.     I found that out.             I knew he was -- he was
18   trying to hurt the airline.                 I knew he was trying
19   to hurt the airline.             There was nothing I could
20   do.    It was -- it was out of control at that point
21   because of what Jacob Marrero did.                     And I'm
22   scrambling because I'm thinking to myself, oh, my
23   God, what are they doing to American.                       That is not
24   to say that I wasn't concerned about myself


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 75 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 259

1               A.         If they're looking for it.                  If
2    they're looking for it.               If they're looking for
3    it.    That was not the intention.                  I am not
4    responsible for what people think or they see.
5    I'm sorry.       I'm not responsible.               If they're
6    looking for racism, they're going to find it.
7    This was a basketball team that was rescinded.                         I
8    happen to think that the president handled it well
9    because I would have done the same thing, but that
10   doesn't have anything to do with my coworkers.
11   I'm sorry that they feel that way.                     It's crazy.
12                                    - - -
13                         (Whereupon, the document was
14   marked, for identification purposes, as Exhibit
15   Koslosky-15.)
16                                    - - -
17                         THE WITNESS:          Is that -- I love
18   that shirt.
19   BY MR. FARRINGTON:
20              Q.         I'm handing you Exhibit-15 --
21              A.         Uh-huh.
22              Q.         -- which is a picture of a shirt
23   on which there is a drawing of a stalk of cotton
24   and the words "Have you lost your cotton pickin'


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 76 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 260

1    mind?"     Correct?
2               A.         Right.
3               Q.         And is that something that you
4    posted to Facebook?
5               A.         I sure did.         I just love that
6    shirt.
7               Q.         To this day, you still love it?
8               A.         I do love it.          I actually bought
9    the plaque.        It's adorable.           It's so cute.             You
10   can buy this on eBay.             I mean, this is ridiculous.
11   I mean, come on.           I mean, you know, this is
12   ridiculous.        It's a flipping shirt.               It's
13   adorable.        It's so cute.         And you could buy this
14   stuff on eBay, eBay.             (Indicating.)
15              Q.         What are you proving to me by
16   showing me you can buy it on eBay?
17              A.         I'm just proving that this is
18   nothing.        It's just a shirt.           It's just a cute,
19   adorable shirt.          It's a shirt from -- the big
20   thing right now is the farmhouse motif within --
21   you know, within a home.               That's -- that is --
22   it's just a cute little shirt.                   That's all it was.
23              Q.         Did you post what's been marked as
24   Exhibit-15 in response to the NFL kneeling


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 77 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 262

1    Baltimore, I know that you heard this your whole
2    life.     It's nothing.          It's no big deal.             And I saw
3    it, and I thought, oh, my God, isn't that the
4    truth, isn't that the truth.                 Everybody is losing
5    their mind.        And I just saw it and I posted it.
6    It was nothing.          It's just a shirt.
7               Q.         Do you understand how the post
8    that's been marked as Exhibit-15 could be
9    interpreted to be racially insensitive?
10              A.         Absolutely not, only for somebody
11   that's looking for -- looking for something to be
12   race related.         This is an adorable shirt.                  It's
13   nothing.        It's a shirt, for crying out loud.                    Many
14   Americans have picked cotton, if that's what
15   you're implying.           People came over from Italy and
16   they picked cotton.            This is just a flipping
17   little shirt.         If you walk into Hobby Lobby, if
18   you walk into Michael's, if you walk into --
19   what's the other one, I can't think of it, the
20   other hobby store, you'll see this all over the
21   place.     It's adorable.           There's nothing wrong with
22   it.     But it's the person who is looking for
23   anything.        That's silly.         It's a shirt.
24                                    - - -


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 78 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 263

1                          (Whereupon, the document was
2    marked, for identification purposes, as Exhibit
3    Koslosky-15.)
4                                     - - -
5    BY MR. FARRINGTON:
6               Q.         I'm handing you what's been marked
7    as Exhibit-16.         Is Exhibit-16 a post that you made
8    to Facebook?
9               A.         I did.
10              Q.         And the post says, "We are losing
11   Blue Eyed People.           Too many are reproducing with
12   Brown Eyed People.            This is true."
13              A.         Uh-huh.
14              Q.         "So Blue Eyed People...UNITE!"
15              A.         Exactly.        I did post that.            And it
16   was funny because -- everybody -- all of my
17   friends were laughing because they said, oh,
18   isn't that interesting.               They're like we have a
19   beautiful Asian girl with blue hair.                      I'm trying
20   to find the picture.             They were laughing.              They
21   thought it was hysterical.                Okay.      I had just read
22   a study in -- it was a science digest, and I had
23   seen that before.           And it's -- I have blue eyes.
24   Okay?     I like my blue eyes.              I'm proud of my blue


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 79 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 266

1    gave me what a lot of people want and spend a lot
2    of money for.         It's -- I was just talking about
3    blue eyes, not brown people with blue-eyed people.
4    I know a lot of people of color that have gorgeous
5    blue eyes.       What -- have people completely lost
6    their minds?        This is ridiculous.
7               Q.         You don't see how this could be
8    interpreted to be racially insensitive?
9               A.         Absolutely not.            I'm talking about
10   people with blue eyes.              I'm not talking about
11   brown people.         Brown-eyed people.             People have
12   brown eyes all over the place, every ethnicity,
13   but the people that are looking for race, they're
14   going to find it.           There's nothing racist in that.
15   There's nothing racist anywhere on my Facebook
16   page, nothing.         I kept it open for, like, 12 hours
17   after this fiasco started because I had absolutely
18   nothing to hide.           I wasn't against anybody at
19   work.
20                         Now, I can read their stuff.                    I
21   don't care.        I don't care.          I don't care.           It's
22   their -- they did direct things at me after all of
23   this came out and Jacob stirred the pot, but he
24   was the one that did it.               If it wasn't for him,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 80 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 270

1    I just love him to death.                Well, he had just been
2    inducted to the African-American Museum in
3    Washington, D.C., finally -- big post about that,
4    you know.       I mean, these people don't -- they
5    don't know anything about me, nothing.                       I haven't
6    even breathed the same air as these people.                           I
7    don't know them.           So, anyway -- so, what he did is
8    he forwarded those posts that he cherry-picked --
9               Q.         Were they the posts that we've
10   identified?
11              A.         Yes, sir.        They are all of the
12   posts that were identified -- that he did not
13   like, and he forwarded them to every single
14   person that he knew.             In doing so -- and tagged
15   everybody, and I'm talking people everywhere.                             In
16   doing so, it was picked up by other employees.
17   They were -- you can read through all of this.
18   (Indicating.)         Employees that worked in
19   Philadelphia, open it up, make it go viral, it's
20   going viral.        You know, I mean, even people were
21   saying, are you reading something that I'm not
22   reading because I'm not seeing anything here to
23   all of these people.
24                         And so, anyway, it was -- it was


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 81 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 271

1    just -- it was a snowball effect.                    It was an
2    absolute snowball effect.                Ty Maddox, like I said,
3    picked it up, collaged it, put it -- at two
4    o'clock in the morning or one o'clock in the
5    morning, put it on the official American Airlines
6    Facebook and Twitter page.                A Rachel McCray, who I
7    believe had been terminated as well, she -- she
8    either put it on -- I think she put it on Twitter,
9    and, you know, saying -- oh, my God -- well, I've
10   got it all here.           (Indicating.)          But anyway -- so,
11   from there, it just took -- it took a life of its
12   own, and Jacob Marrero was the ring leader.                           He
13   was getting -- he was getting everybody riled up,
14   absolutely riled up and --
15              Q.         Did you know Jacob Marrero?
16              A.         I never met him.            I only talked to
17   him one time on the telephone.                   The reason I
18   talked to him on the telephone was because he was
19   part of the Executive Board at one time with the
20   company.        I've never laid --
21              Q.         You mean of the union?
22              A.         I'm sorry, of the union.                 I have
23   never laid eyes on him.               The only way that I know
24   him now is because I've seen pictures of him on


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 82 of 134

                                 COLLEEN KOSLOSKY

                                                                    Page 279

1               Q.         All right.         And you understand
2    that passengers complained that you had made posts
3    that were racist in nature?
4               A.         Okay.      But, however, the reason
5    that that happened was because of Jacob -- no,
6    well, okay, I guess they did, but -- okay.                            That's
7    because they were -- that's because they were
8    forwarded on.         In other words, it wasn't because
9    they came to my page and found something.                         It was
10   ridiculous.        It was -- they never would have known
11   I worked for American other than that little blip
12   that you saw about the free passes which everybody
13   was excited about.            But that was so deep, they
14   had -- you had -- or whoever, they had to go so,
15   so deep into my Facebook page to find that.                            If
16   anybody was just going through, they never would
17   have known.
18              Q.         And once Jacob forwarded the
19   posts, it was abundantly clear that you were an
20   American Airline employee, right?
21              A.         No.     They identified me, that's --
22   no, that's what I'm saying though.                     Yes, because
23   he identified me.           It's not because I identified
24   myself.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 83 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 272

1    Facebook.       I mean -- okay.           So, anyway, I was up
2    for 36 hours.         I received -- because of what they
3    did, they posted my face, they posted my base,
4    they posted -- you can have all of this as far as
5    I'm concerned.         (Indicating.)           They -- I had
6    passengers calling me at home.                   I had passengers
7    calling me.        I had passengers and employees
8    that were -- that were calling me on Facebook
9    Messenger.       I had passengers that were making --
10   and other employees that were going onto my actual
11   Facebook page because I wasn't shutting it down.
12   Why would I shut it -- that's ridiculous.                         If you
13   can't -- this has nothing to do with you.                         If you
14   can't -- if you can't come to the realization that
15   people aren't against you, but they might not
16   agree with your opinion, it doesn't mean that they
17   hate you, for God's sake.                So, anyway, retirees --
18   retirees -- I had a police report because I had
19   death threats.         Here's my police report.
20   (Indicating.)
21                         This one individual, this one
22   person, created this absolute havoc.                      I was
23   getting phone calls from people who really wanted
24   to help me from other cities.                  And -- Pat Brislin,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 84 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 273

1    well, she's a supervisor in Fort Lauderdale, she
2    called me and she said, Colleen, passengers are
3    talking about you up in Seattle; I just got a
4    phone call from an agent in Seattle.                        This coming
5    in from everywhere.
6                           I had a nervous breakdown.                     I
7    mean, they were -- it had taken on a life of its
8    own over nothing, but yet, you know -- but you
9    can -- but yet, you know, Laurie Marks -- Laurie
10   Marks, an agent in Philly -- Ty Maddox, here's
11   what he actually posted on American Airlines
12   showing -- posing as a passenger -- a twice
13   terminated employee who had an ax to grind.
14                          Employee -- the utter and complete
15   filth that I got from these employees -- Dave
16   Thomas put my picture everywhere -- employee in
17   Philly, everywhere.             I don't even know who Dave
18   Thomas is.        I don't even know who the guy is.                       I
19   mean, it's endless.             It's absolutely endless.
20   It's endless.
21                          Val Florves, who was a
22   supervisor -- and I like these people.                         I mean,
23   it's hurting me to tell you this because I like
24   these people.          And I mean -- oh, my God, I mean,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 85 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 274

1    Val Florves, holy moly, she had a fiasco with me,
2    but it was all stirring the pot, stirring the pot.
3    And, like I said, it just took on a life of its
4    own, and I -- it was so --
5               Q.         How quickly?
6               A.         -- it was so out of control
7    because of Jacob.           That was the nucleus.               And it
8    was so out of control, people that I had worked
9    for for years, I mean, Val, and -- I mean, have a
10   field day.       (Indicating.)           What they did to me on
11   that -- and then what they did is they went to the
12   closed American Airline groups, flight attendant,
13   agent combined, you know, different ones that we
14   have to share information, I had to get ahold of
15   Tom Gunning.        Tom Gunning was an administrator of
16   one of the websites.             And I had -- oh, my God, it
17   was unbelievable.           I said, Tom, please, take that
18   down, please, take that down.                  I said, the person
19   that is posting that has been terminated twice
20   from American, talk to Barbara Tobin, who was our
21   union president at the time, and she will explain
22   to you what happened.
23                         It was out of control.                I mean --
24   but it was the cherry-picking.                   It was the


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 86 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 275

1    cherry-picking that -- and anything that they did
2    not like, they used against me.                   When they called
3    me in for my first interrogation, I went in my
4    uniform.        I was going back to work.               I'm there to
5    work.     I'm not there -- if you're mad at me, okay,
6    that's fine, you can be mad at me.                     Then they
7    used -- then some employees, some coworkers, used,
8    well, she's creating a hostile work environment.
9    I'm not creating a hostile work environment.                          I'm
10   coming in here zip-a-dee-doo-dah.                    I'm -- that's
11   how I walked into work, all smiles.
12                         After my first interrogation with
13   Jenny O'Neill and Nicole Blanchard, Greg Cassavaw,
14   my union representative, was right next to me.
15   Jenny O'Neill, senior manager, came up to me, she
16   gave me a hug.         She said, Colleen, you are the
17   victim here, you did nothing wrong, and we know
18   exactly what's going on.               Now, what that "we know
19   exactly what's going on" is, I don't know what
20   that is, but that's what she said to me.
21              Q.         So, the posts that we've
22   identified as Exhibits-12 through -16, I think
23   this is your language, they went viral, correct?
24              A.         They went all over the world, all


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 87 of 134

                                 COLLEEN KOSLOSKY

                                                                    Page 279

1               Q.         All right.         And you understand
2    that passengers complained that you had made posts
3    that were racist in nature?
4               A.         Okay.      But, however, the reason
5    that that happened was because of Jacob -- no,
6    well, okay, I guess they did, but -- okay.                            That's
7    because they were -- that's because they were
8    forwarded on.         In other words, it wasn't because
9    they came to my page and found something.                         It was
10   ridiculous.        It was -- they never would have known
11   I worked for American other than that little blip
12   that you saw about the free passes which everybody
13   was excited about.            But that was so deep, they
14   had -- you had -- or whoever, they had to go so,
15   so deep into my Facebook page to find that.                            If
16   anybody was just going through, they never would
17   have known.
18              Q.         And once Jacob forwarded the
19   posts, it was abundantly clear that you were an
20   American Airline employee, right?
21              A.         No.     They identified me, that's --
22   no, that's what I'm saying though.                     Yes, because
23   he identified me.           It's not because I identified
24   myself.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 88 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 282

1    point -- no, because -- no, because -- because I
2    was dealing with the raccoons, for Christ sake,
3    but the point is, no, I had absolutely no idea.
4    However, I did also hear through conversation from
5    people that called me that American Airlines was
6    being held hostage because they were told if they
7    didn't fire me that they were going to go to the
8    media.
9               Q.         Employees told the company that?
10              A.         Yes, sir.
11              Q.         And you're aware that employees
12   both inside and outside of Philadelphia complained
13   about your posts, correct?
14              A.         I did not know that -- I did not
15   know about -- well, I knew about the outside only
16   after I was told that I had death threats.                            That's
17   when I found out about it.
18              Q.         So, yes, you know that employees
19   in and out of Philly complained?
20              A.         Well, they had to complain.                     It
21   went viral.        It went all over the world what they
22   did to me.       So, anybody that had an American
23   Airlines app saw it.
24              Q.         Okay.      Do you understand why press


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 89 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 285

1    start screaming, oh, this is a hostile work
2    environment -- there was no hostility.                         That's
3    ridiculous.         It's just somebody with a different
4    opinion.         I'm not against you, ever.                 I was
5    working -- I was the one in the hostile work
6    environment.         It was fine.
7                Q.         So, listen to my question.                     Are
8    you aware that employees reported that they
9    weren't comfortable working with you in light of
10   your posts?
11               A.         That's what I said.               They wrote it
12   in here.         Of course they did.            That was -- that's
13   part of it.         That's part of the whole thing.
14               Q.         Yes, you're aware of that?
15               A.         Well, now that I am, but I knew
16   that they were because they posted it in here.                               I
17   saw it.      That's what they kept on saying.                         They
18   kept on saying, oh, my God, we can't work around
19   this person, they're terrible.
20               Q.         Do you know what EthicsPoint is?
21               A.         Sure.
22               Q.         And what is EthicsPoint --
23   American Airlines EthicsPoint?
24               A.         It's just American's ethics, I


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 90 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 287

1    took an opportunity to cherry-pick through posts
2    that he did not like, and ultimately he put them
3    out to every single person that he knew, picked up
4    by terminated employees that had scores to settle,
5    put them on the official American Airlines'
6    Facebook and Twitter page, and they had a field
7    day.     That's exactly what happened.
8                                     - - -
9                          (Whereupon, the document was
10   marked, for identification purposes, as Exhibit
11   Koslosky-17.)
12                                    - - -
13                         MR. FARRINGTON:            Dave, can you
14   make sure that we are not mixing the --
15                         THE WITNESS:          No, we're not.            I
16   got it.
17                         MR. FARRINGTON:            -- deposition
18   exhibits in with that bag of papers?
19                         MR. KOLLER:         Can you put all of
20   the documents to the side?
21                         THE WITNESS:          Okay.      I'd be happy
22   to.
23   BY MR. FARRINGTON:
24              Q.         So, I tried to put in front of you


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 91 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 288

1    Exhibit-17?
2               A.         Oh, from Joe, the thing from Joe,
3    Joe Wilson.
4               Q.         This is your suspension letter,
5    correct?
6               A.         That is correct.
7               Q.         How were you informed that you had
8    been suspended?
9               A.         Joe Wilson called me at home, and
10   we had a nice little chitchat, and he was lovely.
11   And he said, we're just going to put you out.                         And
12   I had a nice conversation with Joe, but -- and
13   that was it.
14              Q.         Okay.      And then how did you
15   receive the letter that's been marked as
16   Exhibit-17?
17              A.         I believe I got this via U.S.
18   Mail, and I do have this letter.
19              Q.         But this wasn't news to you when
20   you received it; you already knew you had been
21   suspended?
22              A.         Yeah, that's correct, because I
23   had a conversation with Joe.
24              Q.         Okay.      You told Olympia and Mike


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 92 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 290

1                Q.         All right.         And you had a meeting
2    on September 29th with Nicole Blanchard and Jenny
3    O'Neill, correct?
4                A.         I did.
5                Q.         And you were represented at that
6    meeting by a union rep named Greg Cassavaw?
7                A.         That's correct.
8                Q.         Am I correct that two union
9    representatives refused to represent you before
10   Mr. Cassavaw finally agreed?
11               A.         That's true.          Suzette Lewis was on
12   her way to Washington, D.C.                  She was on --
13   actually, she was on her way to the African-
14   American Museum, and Don Peterson was in Venice.
15               Q.         And so, is it your testimony that
16   they were physically unable to represent you, not
17   that they declined to represent you in light of
18   the circumstances?
19               A.         Well, Suzette never declined.
20   I've known Suzette since our Cleveland days.                          And
21   Suzette only -- she never said that she declined
22   because of any other reason other than the fact
23   that she was going on this jaunt.
24                                     - - -


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 93 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 305

1    material was left out of that memo?
2                A.         I don't think so.             I don't think
3    so.     You know, other than -- you know, I did --
4    well, I did try to -- and they squashed me, I
5    tried to -- you know, I tried to say but you
6    don't -- but there are other employees that are
7    the polar opposite and they're just skipping
8    along, but what I did was, you know, nothing,
9    nothing compared to what other people did.                            And,
10   like I said, I would never, ever would I want to
11   destroy somebody's career over a difference of
12   opinion.
13                                     - - -
14                          (Whereupon, the document was
15   marked, for identification purposes, as Exhibit
16   Koslosky-19.)
17                                     - - -
18   BY MR. FARRINGTON:
19               Q.         I'm handing you Exhibit-19 --
20               A.         Okay.
21               Q.         -- can you confirm that's your
22   termination letter?
23               A.         That is my termination letter.                    It
24   is, yes, sir.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 94 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 308

1               Q.         Okay.      So, you sent an e-mail to
2    Jenny on October 2nd regarding Tom --
3               A.         Doersam.
4               Q.         -- Doersam's, D-O-E-R-S-A-M,
5    Facebook page?
6               A.         Right.
7               Q.         And I've seen some other
8    references to Tom.            I'm correct, aren't I, that
9    you never complained about Tom Doersam's posts to
10   the company, correct?
11              A.         Never, because he's entitled to
12   his opinion.        He never hurt anybody.                It was his
13   opinion.        He's a great guy.           I mean, he's a
14   terrific guy.         We just have a difference of
15   opinion.        All of this is difference of opinion.
16   But why would I want to destroy his life?                         I don't
17   want to destroy his life.
18              Q.         Are you aware of anyone
19   complaining to the company about Tom Doersam's
20   Facebook posts?
21              A.         I don't know because, again, to
22   reiterate, I really didn't get involved in the
23   mechanics of the airport.                But people would say,
24   oh, boy, did you see what Tom had to say, you


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 95 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 316

1    relatively quickly.
2               A.         Okay.
3               Q.         You filed a grievance challenging
4    your termination, correct?
5               A.         I did.
6               Q.         And the grievance was denied at a
7    Step Two hearing?
8               A.         It was.
9               Q.         And am I correct that the union
10   declined to take your grievance to arbitration?
11              A.         The union -- yes, sir.                The
12   union -- if I can expand on that, the union
13   declined because everywhere it said American
14   Airlines -- that I worked for the world's -- what
15   is it -- largest airline -- that I identified,
16   identified, identified, I never identified myself.
17   But they -- there's more to it but, yes, they did
18   decline it.        I was also denied representation by
19   the union.
20              Q.         Representation in what?
21              A.         American Airlines was fighting my
22   unemployment and -- I know, but -- okay.
23              Q.         Okay.      So, when you say "denied
24   representation", you're talking about your


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 96 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 318

1    BY MR. FARRINGTON:
2                Q.         You've got Exhibit-20 there which
3    is a letter you wrote to an Edward Mooney in
4    response to the Union's decision to not proceed
5    with an arbitration, correct?
6                A.         That's correct.
7                Q.         In the letter you make reference
8    to a person who set you up?
9                A.         That's correct.
10               Q.         Is that person Jacob Marrero in
11   your opinion?
12               A.         That person is definitely Jacob
13   Marrero in my opinion with a few other
14   accomplices.
15               Q.         Okay.      On page 256 of that
16   exhibit --
17               A.         Yes, sir.
18               Q.         -- the last full paragraph starts,
19   "I was terminated to quiet a mob."
20               A.         That's right.
21               Q.         Is it your view that American
22   Airlines was motivated to terminate your
23   employment to "quiet the mob"?
24               A.         One hundred percent, absolutely,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 97 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 323

1    with and they'll bring the company down with them.
2    And I think that's a dangerous place to be -- just
3    my -- you know, just my last thoughts.
4                                     - - -
5                          (Whereupon, the document was
6    marked, for identification purposes, as Exhibit
7    Koslosky-21.)
8                                     - - -
9    BY MR. FARRINGTON:
10              Q.         I'm giving you Exhibit-21.
11              A.         Yes.
12              Q.         It's a June 27th, 2018 letter from
13   Ed Mooney to you, correct?
14              A.         That is correct.
15              Q.         And is this Mr. Mooney's response
16   to the letter you wrote that was marked as
17   Exhibit-20?
18              A.         That's correct.
19              Q.         In the letter did Mr. Mooney
20   decline your appeal to take the case to
21   arbitration?
22              A.         He did.
23              Q.         And did he find that an arbitrator
24   would easily find American had just cause to take


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 98 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 343

1               Q.         You're not contending that you
2    were terminated because you have a disability?
3               A.         I am not contending that I was
4    terminated because I had a disability.                       What I
5    am contending is the circumvention of the
6    accomodation for absolutely no reason.                       That's the
7    problem.        There was no reason not to grant me the
8    accommodation that I was seeking as evident by the
9    signature of Olympia Colasante.
10              Q.         So, I saw your disability claim as
11   three-fold, and I think you clarified that it's
12   not.     So, let me tell you what I thought it was,
13   and you can clarify for me.
14              A.         Sure.
15              Q.         Okay?      I understood you to be
16   complaining that the company did not accommodate
17   your disability by assigning you to Terminal B
18   exclusively for a period of time until Olympia
19   stepped in, right?
20              A.         That is correct.
21              Q.         That's one prong of your claim,
22   right?
23              A.         That is absolutely correct.
24              Q.         Okay.      And I thought you were


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 99 of 134

                                COLLEEN KOSLOSKY

                                                                    Page 344

1    alleging that the person who terminated you was
2    motivated to do so because of your disability, and
3    you've told me that's not correct, that's not what
4    you're alleging?
5               A.         No, that -- no.
6               Q.         Got it.       The third part of what I
7    thought you were alleging in your claim was that
8    the person who terminated you did so to retaliate
9    against you for having asked for an accommodation;
10   is that part of your claim?
11              A.         Not asking for the accommodation,
12   humiliated because for over a year she did
13   everything that she could do to circumvent that.
14   I'm trying to answer the question, I really am.
15              Q.         So, that circles back to you not
16   getting the accommodation in the first place, and
17   I understand that's part of your lawsuit.
18              A.         Right.
19              Q.         I got it.
20              A.         Okay.
21              Q.         Are you contending that the fact
22   you asked for an accommodation played a role in
23   the decision to terminate you eventually?
24              A.         Not at all.         No, not at all.             No,


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 100 of 134

                                 COLLEEN KOSLOSKY

                                                                     Page 345

1     because when I originally -- you know, you have to
2     go -- you have to go through the steps of -- you
3     know, you have to go to Human Resources, and you
4     have to -- you know, you try to do the best that
5     you can do after you've exhausted everything on
6     the floor, you know -- the gates on the floor,
7     that's what I mean.            So, then, you know, you go
8     upstairs, you try to do the proper thing.
9                           And, again, at the expense of
10    being repetitive, you know, that's why I went to
11    her directly because nobody could speak for myself
12    other than me, and it worked out brilliantly for
13    about three hours, and then she disappeared off
14    the face of earth until she fired me.
15               Q.         You're talking about Beth again?
16               A.         Yeah.      And I liked Beth.             She was
17    great.
18               Q.         All right.         So, you're definitely
19    alleging that the company did not accommodate your
20    disability in a timely fashion?
21               A.         Absolutely.
22               Q.         Got it.       And then with respect to
23    the termination, the legal claim is limited to
24    your allegation that you were terminated because


                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 101 of 134

                                  COLLEEN KOSLOSKY

                                                                     Page 346

1     of your gender, correct?
2                A.         That was part of it only because
3     of the repetitiveness of what I was seeing.
4                Q.         And what's the other part?
5                A.         That's the part.
6                Q.         Okay.      And then you also told me
7     earlier that you think the company was -- I think
8     the word you used was blackmailed or motivated to
9     quell the mob, correct?
10               A.         Absolutely.         Absolutely.
11               Q.         Okay.      And you're not contending
12    your disability or the fact that you had asked for
13    an accommodation played a role in the decision to
14    terminate?
15               A.         No.     It was the fact that they
16    wouldn't -- they -- no, they circumvented me at
17    every turn to get that accommodation.
18               Q.         Okay.
19               A.         It wasn't the asking of the -- the
20    initial asking of the accommodation.                      It was the
21    circumvention and the abject lying that was going
22    on so that I wouldn't get that accommodation which
23    I'm still trying to figure out what the big deal
24    was.    But in the interim, in the interim, and me


                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                      Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 102 of 134                                                                                                         EXHIBIT


                                                                                                                                                                                         KOS IDS              -1
EEOC Form 5(5/01)

                                                                                                                                Charge Presented To:                    Agency`)                 5 -ß -I9
                          CHARGE OF DISCRIMINATION
                 This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                                FEPA
                        Statement and other Information before completing this form.
                                                                                                                                       X   EEOC

                                                               Pennsylvania Human Relations Commission                                                                                         and EEOC
                                                                                          State or local Agency,   if any
                                                                                                                                           Home Phone (Inch Area Code)                       Date of Birth
Name (Indicate Mr., Ms., Mrs.)

Colleen Koslosky                                                                                                                           (856) 904 3567
Street Address                                                                                 City, State and ZIP Code

110 Whitman Avenue                                                                Stratford, NJ 08084
                                                                                                                     Agency That Believe
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government
                                                                                                                                                                                         I



Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
                                                                                                                                           No. Employees, Members             Phone No. (Include Area Code)
Name

American Airlines, Inc.                                                                                                                               50+                         (800) 364 5259
Street Address                                                                                 City, State and ZIP Code

8000          Essington Avenue                                                    Philadelphia, PA 19153
                                                                                                                                           No. Employees, Members             Phone No. (Include Area Code)
Name

American Airlines, Inc.                                                                                                                               50+                         (817) 963 1234
Street Address                                                                                 City, State and ZIP Code

4333 Amon Carter Boulevard                                                        Fort Worth, TX 76155
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                                                  DATE(S) DISCRIM(/ TION TOOK PLACE
                                                                                                                                                                          ¿
                                                       X                                              n         NATIONAL ORIGIN
                                                                                                                                                            Earliest        -      Latest

                                                                                                                                                                                         ,'10/6/2017
          n
               RACE             COLOR                          SEX            J     j RELIGION
                                                                                                                                                                          rJ
     .               RETALIATION                  AGE              X       DISABILITY                   OTHER(Spectfy below.)
                                                                                                                                                                        CONIINUIStp AdTION

THE PARTICULARS ARE (lfadditional paper is needed, attach extra sheet(s)):                                                                                                J>        l
         I.      On December 12, 1983, was hired by US Air as a Customer Service Agent in a locajion.jn New York
                                                               I


                 City, NY. In April 1992, was transferred to the Philadelphia International Airport. On.Qecêrtrbar 9, 2013,
                                                           I


                 US Air merged with Respondent and became an employee of Respondent. On October 6, 2017,
                                                                                      I


                 Respondent terminated me. have a disability that substantially limits major life activities. am a
                                                                       I
                                                                                                                                                                                     I



                 "qualified individual with a disability" as that term is defined under the ADA because have, or had at all                                               I




                 time relevant hereto, a disability that substantially limits or limited one or more major life activities or
                 because I had a record of such an impairment or because I was regarded as and /or perceived by
                 Defendant and its agents as being disabled.

     II.         In oraround 2008, was diagnosed with a disability. In or aróund 2010 was required to have a
                                                  I
                                                                                                                                                  I


                 procedure to treat my disability. In or around 2013, had second operation conducted by Dr. Brian
                                                                                                            I




                 Czerniecki at University of Pennsylvania Hospital to treat my disability. was forced to take a leave of                          I


                 absence for approximately five (5) months. When I returned to work, Dr. Katharine Gamier, Primary
                 Care Physician, wrote me a note restricting the amount walked. She requested that work in              I                                                     I



                 Concourse B in order to do so.

    ill.         1 gave this note to Naomi LNU, Human Resource Representative, but Respondent denied my request
                 and continued to schedule me at the far end of Concourse C. This forced me to walk an unnecessary
                 amount and exacerbated my disability. complained to Christine Thompson, Manager, that I was not
                                                                                          I


                 being accommodated. Ms. Thompson notified me that would be accommodated, but the following day     I


                 Larry Raikes, Supervisor, continued to assign me to the far end of Concourse C. then complained to                                                 I


                                                                             -
                 Beth Norton, Managing Director Customer Care, in order to obtain my accommodation. However, Ms.
                 Norton ignored my request. For approximately two (2) years, requested an accommodation from Ms.                   I


                 Norton and other various individuals in management, but Respondent ignored my requests and
                 continued to schedule me at the far end of Concourse C. was forced to miss a substantial amount of         I


                 time at work due to Respondent's failure to accommodate me.

   IV.           On July 28, 2017,            I       sent an email to Mjl(Ejl                     (p              Jvlanager- Employee                      RelartOWCPpptpt)snal
                    Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 103 of 134

                                                                         Herschel!, Managing Director Domestic &
             Support, Olympia Colasante, VP, PHL Hub Operations, Tricia
                                                                             complaining about Respondent's
             International HR Business Partners, and Robert Isom, President,
                                                                                  care of It. The following day, Ms.
             failure to accommodate me. Ms. Colasante stated that she would take                   request and assign
                                                                             my accommodation
             Norton called me and informed me that Respondent would grant
             me to work in Concourse B.
                                                                                    me due to posts on my Facebook
     V.       On September 27, Joe Wilson, Manager, and Ms. Norton suspended
                                                                                    reason  for terminating me was that
              page. On October 6, 2017, Ms. Norton terminated me. Respondent's                  never identified myself
                                                      of Respondent when made my       posts.                                  I
              I had identified myself as an employee
                                                                                                    I



                                                                        Customer Service     Supervisor,  has a public
              as an employee of Respondent. However, Tom Doersom,                                    "Nazis ", and "racist
                                                                                    his supporters
               Facebook with multiple posts calling President Donald Trump "Hitler,                   Upon   information
                                                                        employee of   Respondent.
               homophobic bigots." Mr. Doersom identifies himself as an                       posts.
                                                                           Doersom for his
              and belief, Respondent has not disciplined or terminated Mr.
                                                                               of Title VII. I was also discriminated
     VI.       believe was discriminated against due to my gender in violation
                                                                                   in violation of the ADA. I also
              I              I




              against due to my disability and denied a reasonable accommodation
                                                                                 failure to accommodate me in
              believe was retaliated against for complaining about Respondent's
                         I


              violation of the ADA.                                                               - When necessary for State
                                                                                            and Local Agency Requirements
                                                                   Agency, If any.       NOTARY
 want this charge filed with both the EEOC and the State or local
                                                                                  I


                                                                    and will cooperate
I

will advise  the agencies   If
                             I change  my address  or phone number         I



           them      the processing of my charge In accordance with their procedures.
fully with        In
                                                                                                                                               that It Is true to
                                                                                         I swear or affirm that have read the above charge and
                                                                                                               I




                                            the above Is true and correct.               the best of my knowledge, Information and belief.
I   declare under penalty of perjury   th
                                                                                         SIGNATURE OF COMPLAINANT


                                                                                                                                DATE
                                                                                         SUBSCRIBED AND SWORN TO BEFORE ME THIS
                                                                                         (month, day, year)


             Date                               Charging Party Signature




                                                                       Koslosky                                                    000013
          Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 104 of 134




Attendance and performance guidelines for
passenger service employees

The following performance guidelines apply to all passenger service team
members represented by the CWA -IBT.



I.    Introduction
When we think about one of the keys to our success as a Customer Experience department, we often think
about dependability. Getting aircraft out on time is certainly one aspect of that, but behind the scenes, it also
means having our full team at work, performing at their best every day, for every flight.
Knowing what's expected and having a clear understanding of what success looks like are integral parts
of performing at our best. That's why we have attendance and performance guidelines for our U.S. -based
passenger service employees represented by the CWA -IBT Association (including Puerto Rico).
The attendance piece is an objective, straightforward point system with    a   rolling active 12 -month lookback
period.
The performance piece also uses an active 12 -month lookback, and allows for        a   review of each performance
issue, the employee's work history and the opportunities for improvement.
These guidelines are just that - guidelines. They are not a contract of employment and may be to modified or
removed at any time. If that's the case, we'll make sure employees are aware in advance.



Separation of Attendance and Performance
Attendance and performance are generally separate and distinct. The attendance guiding principles apply
only to attendance issues, which will be managed separately from job performance issues. Expectations for
employee conduct and performance will be managed under the performance guidelines. However, there may
be times when an issue involves both sets of guidelines. An example would be arriving late and not clocking in.
The late arrival falls under attendance while the failure to clock would be addressed under performance.




II.   Application of Guidelines
The guidelines in this document apply only to those employees in the passenger service workgroup who have
completed their probationary period pursuant to the applicable collective bargaining agreement.
They replace US Airways' Commitment to Success Attendance and Performance Program and American's
Attendance Management Policy (AMP) and Peak Performance through Commitment with respect to passenger
service employees employees.


                                                                                                EXHIBIT


                                                                                            Ktxloskyy-
                                                                                        tc         5-1-19
         Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 105 of 134



Attendance and performance guidelines for passenger service employees




III.   Definition of Terms
Absence(s) / Absent: Any time an employee does not report or remain at work as scheduled. All Absences are
considered chargeable attendance occurrences for assignment of points except those expressly identified as
authorized leaves (see below), or those for which discipline may not be issued under applicable law.
Active / Active Service: The period(s) in which the employee is actively working, or receiving pay. Active /
Active service excludes time periods when the employee is removed from payroll (e.g. unpaid leave of
absence).
Attendance Discussion(s) I Coaching: Either a discussion during which the employee is advised of the
company's attendance / performance expectations and the employee's status under the guidelines OR a notice
provided to the employee that apprises the employee of his /her status under the company's attendance /
performance expectations.
Authorized Leave(s): When acceptable documentation is submitted to the company, authorized leaves
include: adoption, bereavement, family medical leave (FMLA), jury duty, maternity, medical (paid and / or
unpaid for 14 or more calendar days from start of Absence), military, occupational injury, paternity, personal,
and union leave.
Chargeable Attendance Occurrence(s): Absences or late arrivals that are assessed         a   point value according
to the guidelines. A sick absence occurrence starts on the first day of absence and ends when the employee
returns to work. Sick absences are assessed points based on each occurrence. Non-sick absences and late
arrivals to work are daily occurrences and points are assessed daily regardless of the duration.
 Confirmation of Illness: When the company is in doubt of a bona fide sick claim and / or the occurrence
is for five (5) or more sick days (paid and / or unpaid), the Company may request an employee to provide
documentation to substantiate that claim.
Effective Period of Review Level / Discipline: The rolling twelve (12) month period of active service
commencing on the date the most recent Level is issued to an employee.
Flex Late (for Airport, Premium Customer Services & Travel Center employees): Up to two (2) times per
calendar year the employee may start his or her shift up to fifteen (15) minutes late. Time is not made up, or
paid. Flex lates are not chargeable attendance occurrences under the attendance guidelines.
Late: When an employee arrives to work no more than two (2) hours after the employee's shift start time
(includes scheduled shifts, overtime and shift swaps) or at a time authorized by management.
Late Notification (for an Absence): When an employee notifies the company of the employee's absence
after one (1) hour prior to the employee's shift start time, but less than two (2) hours following the employee's
scheduled start time.
Level(s): There are three (3) levels of progressive review / discipline which will be applied in instances of
unsatisfactory attendance or performance: Level 1, Level 2 and Level 3. Level 3 is a "Final Warning." If
attendance / performance problems continue after Level 3 (Final Warning), an employee may be terminated.
No Call / No Show: When an employee does not report to work and does not notify the company of the
absence within two (2) hours following the employee's scheduled start time.
Point(s): Assessed for each chargeable attendance occurrence (absence or late) to the extent permitted by
any applicable law and as described in the attendance guidelines.




                                                                                                                     2
         Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 106 of 134



Attendance and performance guidelines for passenger service employees


Progressive Review Level     /   Discipline: When an employee fails to correct the employee's unsatisfactory
attendance record or performance, the employee will be issued three (3) Levels of Progressive Review after
which the employee may be terminated. Sometimes an employee's behavior or misconduct (performance) is
sufficiently serious so that skipping levels, including moving directly tó or termination, may be warranted.
Sick Leave Abuse: Utilization of sick leave, paid or unpaid, for any purpose other than an employee's
personal illness or non -occupational injury (unless otherwise provided by law).
Sick Leave Pay: Pay protection for an absence when an employee is unable to report to work as scheduled
due to the employee's own illness, notifies the company at least one (1) hour prior to the employee's scheduled
start time, and the employee has accrued and available sick time.
Termination: Involuntary separation of employment.



IV. ATTENDANCE GUIDELINES

A. Employee Responsibilities
The company relies on its employees to report to work as scheduled. Employees are expected to report to
work regularly and on time and remain in their assigned work area as necessary for the efficient performance
of their work. We recognize that on occasion, illness or other compelling personal situations may require
employees to be late or absent from work. Every employee has the responsibility to minimize absences to
ensure dependable attendance. This includes: attending to personal obligations outside of work hours; not
allowing minor indispositions or inconveniences to keep them away from work; allowing for variations in
weather, traffic, or public transportation when commuting; not abusing sick leave; immediately notifying the
company in the event of an absence; and following company procedures for securing authorized leaves of
absence.



B. Employee Obligations under the Attendance Guidelines
When an employee is going to be absent, the employee must notify the company at least one hour prior to the
start of the employee's shift each and every day unless directed otherwise. An employee who fails to do so
may be subject to a progressive review level. The employee must personally call to report an absence unless
the employee is physically unable to do so.



C. Point Assessment
The chart below identifies types of attendance occurrences and the number of points issued for each. The
chart is not intended to be all- inclusive and cannot address all possible situations. Points issued may vary
depending on individual circumstances.




                                                                                                                  3
         Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 107 of 134



Attendance and performance guidelines for passenger service employees



 Late                                                    0.5 Point

Airports: Absence with notification at least one (1)      1.0 Point
hour prior to scheduled shift start

Reservations: Absence with notification prior to shift
start

Airports: Absence with notification between      59       1.5 Points

minutes prior to and two (2) hours after scheduled
shift start

Reservations: Absence with notification between
scheduled shift start and two (2) hours after
scheduled shift start

Absence for five (5) or more consecutive days without 2.0 Points
Company approved documentation

Absence associated with a communicated pattern            2.0 Points

(e.g. holiday, calendar, conjunctive)

No Call / No Show - either no notification or more       2.5 Points

than two (2) hours after scheduled shift start

No Call / No Show for 3 consecutive scheduled work        Termination
days


A sick absence that covers one or more consecutive scheduled work days is one (1) occurrence under the
guidelines. For these absences, points are assessed per occurrence. A sick absence ends when the employee
returns to work.
A non -sick absence and late arrival are daily occurrences and are assessed points on a daily basis.



D. Flex LateGuidelines for Airport, Premium Customer Services
& Travel Center Employees
Employees may start their shift up to fifteen (15) minutes late up to two (2) times per calendar year. The time
will not be made up, or paid. The two (2) Flex lates are not chargeable attendance occurrences under these
guidelines.



E.      Procedure
The company will track chargeable attendance occurrences and their cumulative point total over the previous
12 -month period of active service starting from the first day of absence associated with the most recent
attendance occurrence to determine if a progressive review level is warranted. Once a level has been issued,



                                                                                                                  4
          Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 108 of 134



Attendance and performance guidelines for passenger service employees


attendance is reviewed during the effective period of review level, which is 12 months of active service starting
on the date a level is issued to the employee.
Examples of ways in which employees will be assigned points for attendance absences and lates follow. These
are only examples and the list is not intended to be all inclusive:
          Calling in absent for a scheduled work day, including shift trades and overtime
          Reporting late for duty, including shift trades and overtime
          Leaving work before the end of shift
          Missing work assignment as a result of not having all required items



Authorized Leaves are not counted         as points and are not subject to progressive review levels when
acceptable documentation is submitted to the company. Authorized leaves include: adoption, bereavement,
family medical leave (FMLA), jury duty, maternity, medical (paid and / or unpaid for 14 or more calendar days
from start of absence), military, occupational injury, paternity, personal, and union leave.



F.   Progressive Review Levels
The chart below outlines the guidelines for levels based on points assigned. The guidelines are not intended
to be all- inclusive and cannot identify all possible situations. Levels issued for an infraction may vary from the
stated guideline based on individual circumstances and /or applicable laws.




                                                                                         coaching
 Less than 4 Points within 12 -month period of Active Service
 (prior to and including the 1st date of last occurrence)
                                                                                         Level
 4 Points within 12 -month period of Active Service (prior to                                     1



 and including the 1st date of last occurrence)
                                                                                         Level 2
 3 Points within the Level 1 Effective Period (12 month period
 of Active Service)
                                          Effective Period (12 month period               Level   3
 2 Points within the Level           Il
 of Active Service)
                                                                                         Termination
 2 Points within the Level Ill Effective Period (12 -month period
 of Active Service)


EXAMPLES
Example 1: Agent Jane calls out sick for 3 days beginning on September 27, 2016 and receives one (1) point.
To determine whether this occurrence triggers a progressive review level, the supervisor / manager reviews
the 12 -month active service period prior to the occurrence. In this instance, the 12 -month active service period
is from September 28, 2015 through September 27, 2016. In the event Jane was on a five -month leave of
absence during this 12 -month period, the supervisor / manager would need to look back an additional five (5)



                                                                                                                      5
         Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 109 of 134



Attendance and performance guidelines for passenger service employees


months, totaling a seventeen (17) month period which would result in a 12 -month active service period from
April 28, 2015 through September 27, 2016. At this time, Jane's cumulative point total for the 12-month period
of active service is three point five (3.5) points and therefore this occurrence does not trigger a level.
Example 2: Agent Jane calls out sick for one day and receives one (1) point on October 24, 2016. At this time,
Jane's cumulative point total for the 12 -month period of active service is four point five (4.5) points. Based and
her cumulative point total, this attendance occurrence triggers a progressive review level. Her supervisor /
manager issues her a level 1 on November 1, 2016. The effective period is from November 1, 2016 through
October 31, 2017 assuming Jane remains Active (on payroll) from the date the level 1 is issued through
October 31, 2017.
Example 3: Agent Jane is late for work on November 16, 2016 and receives a half a point (0.5) for this
chargeable occurrence. At this time, Jane's cumulative point total for the effective period for the level 1 is half
(0.5) a point, therefore this occurrence does not trigger an escalation in Level.
Example 4: On October 29, 2017 Jane calls absent for work due to personal reasons and advises the
company 10 minutes before her shiftstart time. She receives one and one half (1.5) points for this chargeable
occurrence since she was late in notifying the company of her Absence. On the following day, October 30,
2017, Jane calls absent for work again for personal reasons but this time advises the company an hour and a
half before her shift start time. She receives one (1.0) point for this chargeable occurrence. At this time, Jane's
cumulative point total for the effective period for the level 1 is three (3.0) points. This triggers the next level.
Her supervisor / manager issues her a level 2 on November 8, 2017. The effective period for this level 2 is from
November 8, 2017 through November 7, 2018, assuming Jane is active during this time period.
Example 5: On January 11, 2018, Jane does not come to work nor does she call          in   her absence. She receives
two and one half (2.5) points for this chargeable no call / no show occurrence. Jane's cumulative point total for
the effective period for the level 2 triggers an escalation to the next level. Her supervisor / manager issues her
a level 3 on January 18, 2018. The effective period for this level 3 is from January 18, 2018 through January
17, 2019, assuming Jane is active during this time period.
Example 6: On January     17, 2019, since Jane has not had any chargeable attendance occurrences OR she
has not accumulated two (2.0) or more points during the effective period for the level 3, the level   3   expires.




G.    Verification of Sick Absence
Pursuant to the collective bargaining agreement, employees may be required to present confirmation of illness.
The company reserves the right to require, when in doubt of a bona fide claim, acceptable documentation to
confirm such sick claim. In the event the requested documentation is not supplied, or such documentation is
incomplete or does not substantiate the employee's illness or injury, the absence may be considered sick leave
abuse and the employee may be subject to a progressive review level up to and including termination.
The following are examples of when the company may be in doubt of a bona fide sick claim and require
acceptable documentation. These are examples and not intended to be all inclusive.
          Absences while on a level under the attendance guidelines.
          Absence occurrences of 5 or more consecutive work days
          Absences within any of the following periods:
             December 20 through January 6
             Super Bowl Sunday through the Monday after
             The Friday preceding Easter through the Monday following Easter.
             Memorial Day weekend (including Memorial Day)


                                                                                                                       6
        Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 110 of 134



Attendance and performance guidelines for passenger service employees


             July through July 7
                  1


             Labor Day weekend (including Labor Day)
             October 31
             The Tuesday before Thanksgiving through the following Sunday
         An annual absence pattern
         Absences immediately preceding or following a vacation day, a day off or swap off
         When the employee is notified in advance of the requirement to provide confirmation of illness for
         future absences due to a suspicion of sick leave abuse



When documentation    isrequired, as described above, for a non -FMLA qualifying occurrence, the employee
must submit the documentation to the company on the first day the employee returns to work, if the company
has advised the employee of this requirement in advance. If the company notifies the employee that
documentation is required after the employee returns to work, the documentation must be submitted to the
company within seven (7) calendar days of notification.
The required sick verification documentation is available on Jetnet and needs to be completed by the
employee's healthcare provider and returned to the company's Absence and Return Center (ARC).



H.   Sick Leave
Passenger service employees may only use their sick leave for their own personal illness or injury, unless
otherwise permitted by a contractual provision or mandated by law.



V. PERFORMANCE PROGRAM

A. Professional Conduct
Building the world's greatest airline means having all of our team members consistently do their part to ensure
that we consistently provide exceptional service to our customers. Though the roles and responsibilities of
each team member vary, one thing remains constant: we all need to be professional both in our behavior and
performance.


Fundamentally, all employees should show commonsense, integrity, responsibility, initiative and good
judgment at all times. That means being the best employee, which positively reflects on our company and
colleagues. And, while we recognize that for most of us, these expectations are all we need to know. For those
who prefer specifics, we have outlined specific expectations in our Professional Conduct Standards.




                                                                                                                  7
           Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 111 of 134



Attendance and performance guidelines for passenger service employees




B. Professional Conduct Standards                                        for Passenger Service
Employees
                                                                                                  commonsense,
American Airlines employees are expected to demonstrate professional conduct that reflects
                                                                                            should not act in a
integrity, responsibility, initiative, efficiency and good judgment at all times. Employees
                                                                                                        By way of
way that is detrimental to the welfare of, or reflects unfavorably on, the company or its employees.
                                                                                               to and including
example only, the following types of conduct are prohibited and may result in discipline up
termination:
                                                                                                              records,
          Misrepresentation of facts or falsification of records (including, for example, training
                                        pay  records,  etc.) for  any  reason   including   to obtain travel   passes,
          employment applications,
          employee     benefits, pay for the  employee   or  a coworker,    or other  privileges.
                                                                                                                  or other time
          Submitting incorrect timesheets or other time records, or allowing incorrect timesheets
                                                                                               timesheets    or time  records,
          records to be submitted. Please note that this applies to both your           own
          and those of others.
                                                                                                                regardless of
          Working unauthorized overtime (the company will pay employees for all time worked
                                                       without   authorization    may  be  treated   as a  disciplinary  matter).
          whether it was authorized, but working
          Intentional work slow- downs,     encouraging    work    slow- downs,   or intentional   restriction  of output,
          productivity or workmanship.
          Loafing, sleeping on the job, or "nesting."
          Insubordination, or willful refusal or failure to follow a direction from management or refusal to
          perform assigned work.
                                                                                                         or condition to a
          Failure to report any injury, accident, dangerous, unsafe or hazardous situation
                                                                 or failure to follow  all posted   and /or  published safety
          member of management as soon as possible,
          rules or any other disregard for safety.
                                                                                                                               or
          Unauthorized use of property or information owned or maintained by the company, its employees,
                                    example    only, information    and   data related  to  our  customers    and   employees,
          vendors, including, as
          equipment, and electronic assets.
           Selling goods or services to the company or other employees while at work or using
                                                                                                                company
          property, information or assets for personal gain.
           Soliciting, collecting, or accepting contributions from coworkers on company time
                                                                                                            without company
            authorization.
                                                                                                      / video features
            Utilizing audio recording or video -taping equipment (for example, the use of camera
                                                         property or while on duty, except where such   equipment is
            on cell phones or glasses) on company
                                              then only     performing duties assigned  by the company,    unless the
            provided by the company and                  in
            company provides prior    written   approval.
            Certain criminal offenses, whether committed on duty or off duty.
            Any failure to follow TSA or FAA regulations, or any applicable security regulations.
            Pilferage, theft, or attempted theft.
            Violence, physical assault, or horseplay on company premises at any time or while on duty
                                                                                                   using any
            While at any company workplace, or performing duties on behalf of the company,
            weapons, firearms or explosive devices, or knowingly permitting        another employee  to possess or use
            the foregoing, unless authorized by the company.
            Failure to abide by the company's Equal Employment / Non -Harassment policy.
            Participation in any effort, including those offsite, that may constitute support of a potentially
            dangerous or disruptive effort against the airline and / or our employees.
                                                                                                 or patrons.
            False or slanderous statements about the company, its employees, its vendors
            Any violation  of  drug and  alcohol  policies.
            Use of inappropriate language.
             Gambling on company premises or while on duty.
             Failing to check in or off duty in the prescribed manner.



                                                                                                                                    8
           Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 112 of 134



Attendance and performance guidelines for passenger service employees


           Clocking in or out for others.
           Failure to safeguard corporate resources or property of others, including the destruction defacing or
           damaging of airport or company property.
           Assisting any person in gaining unauthorized entrance to, or exit from American Airlines facilities or
           offices, including airport property.
           Solicitation and / or acceptance of gratuities (tips) of any kind from customers, vendors or visitors,
           unless specifically approved by your manager and Human Resources.



The above list is not all-inclusive and cannot address all possible situations or every practice or principle
related to honest and ethical conduct. Unprofessional conduct will be dealt with according to the seriousness of
the offense, and violators will be subject to appropriate disciplinary action up to and including termination.
Generally, if conduct does not meet these expectations, your management team will work with you to address
the issue through the use of a progressive counseling process. The process may include a non -disciplinary
coaching discussion, a Level 1, Level 2, Level 3, or termination of employment. Some behavior, even if
committed for the first time, may be serious enough standing alone to warrant termination or other discipline,
even in the absence of prior discipline.
If you have any questions about the Professional Conduct Standards, please reach out to your supervisor
                                                                                                            /

manager.



C. Review             of Facts and Action
We will conduct   review of facts prior to the application of any discipline, including discharge. Depending upon
                  a

the circumstances, an employee may be suspended while we gather the necessary details. And, the following
may be considered as part of the review and in the determination of what discipline, if any, is warranted:
          The nature and seriousness of the offense
          The duration of the problem
          The number of attempts to counsel you regarding your previous performance infractions
          Your work history
          Your general behavior and willingness to improve



We will track performance over a 12 -month period of active service (as defined in the attendance guidelines)
leading up to the performance issue: Once a disciplinary step has been issued, the discipline will remain active
for a period of 12 months of active service ( "effective period "). If additional progressive discipline is necessary
during that 12 -month period, all discipline will remain effective until 12 months following the most recent step of
the progressive discipline.



D. EAP
The Employee Assistance Program (EAP) is separate from one's professional conduct. If an employee has
committed an offense warranting discipline, the discipline should be administered, even if the employee seeks
assistance through the EAP. Though we encourage all employees to utilize the EAP's services, discipline is not
to be waived solely because an employee is seeking help for an addiction or other problem.




                                                                                                                        9
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 113 of 134




                                Janet                                                                                     Page    1   of 2
Overview of social media policy
                                        I




                                                                                                                             MENU



 All Places   >   Resources   >   Documents


  POLICY




           Overview of social media policy
    Created by Adib Abrahim on Oct 29.2016128 PM                                                               3   minute read

                                                                                       individual chooses to
    American Airlines recognizes the importance of social media. To the extent an
    engage in social media activities, it is important for everyone to
                                                                       remember that what is said or done
                                                                            social networks, etc.) may
    in various social media channels (websites, blogs, micro- blogs, wikis,
                                                                                                an individual's
    reflect directly on the individual's character. reputation and integrity as well as that of
    friends. associates and colleagues.


    -Social media activities' may occur in a wide variety of contexts.
                                                                       including websites such as linked In,
                                                                                  media activities include
    Facebook. Twitter, YouTube, and MySpace. Other online venues for social
                                                                    that permit   visitors to interact by
    blogs, online discussion forums or traditional media websites
                                                                               interests,       travel, alumni
    posting comments. Such online venues maybe dedicated to particular
                                                                                           e.g.

     organizations or professional organizations,


     This policy applies to all types of social media activity, including:
                                                                                         or technology:
     (a) activity that uses Company computers. mobile devices, or other equipment
                                                                      to the  Company's systems;  and
     (b) activity that uses non -Company technology when linked
                                                                     to the  Company's Rules  of Conduct and
     (c) activity that is engaged in on or off duty which is subject
     other Company policies and guidelines (referenced below).


     Prior to posting anything online, remember you are personally responsible
                                                                                     for the content you post
     or publish in any form of user -generated media. To the extent    any of your  personal   or business
                                                                            Airlines  or any  otherAAG
     related postings refer to. relate to, implicate or reflect on American
                                                                                  Airlines' rules, policies and
     company. you will be held responsible for complying with any American
     procedures that may relate to your post.


     The same policies and guidelines that apply to American Airlines
                                                                      employee activities on or                        off duty
                                                                            Airlines employee activities"
     apply to American Airlines employee activities online, "American
     include. but are not limited to, the activities of: an individual employee    or group of employees
                                    company    department,    business  unit, or station; and a Company -
      acting on their own behalf; a

      sponsored employee group or clubs.


     1728 Views         Categories:         Tags: policy.   twitter, facobook. social media, social media policy




 https://newjetnet.aa.cotn/docs/DOC-17474                                                                                        1119/2018

                                                                                       EXHIBIT

                                                                                                                     AMERICAN 000005
                                                                                 KOSIoSk -             5
                                                                                 rc 5 -1 -19
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 114 of 134




Work environment IJetnet                                                                                               Page    1   of 4


                                                                                                                              MENU


 All Places   >    Policies   >   Domestic U.S. policies    >   Documents


  POLICY




           Work environment
   Created by Policy Admin on Nov 22.20163:48 PM                                                            9   minute read


           These guidelines apply to regular domestic U.S. employees. Internationally
                      based employees should refer to the                      policies for their region.


   Together, we have the opportunity to create                  a   safe and inviting place to work, a workplace that sets
   us apart Here's what will get us there.


   Embrace diversity
   We're a global airline. made up of a diverse workforce. We should celebrate our differences. and
   nothing less. We will not tolerate discrimination, unlawful harassment. bias -related behavior.
   threats of workplace violence. or other inappropriate behavior. Respecting one another is a core
   value of our culture,


   American strictly prohibits harassment and discrimination because of regard to race, color, religion,
   gender, pregnancy. gender identity, gender expression. sexual orientation, national origin, ethnic
   origin, citizenship, age. protected veteran status, genetic information, disability or any category
   protected by law.


   You play a role in creating a workplace that is free from such discrimination and /or harassment.

   We're all accountable - including our leaders. Types of unacceptable behavior in the workplace may
   take a variety of forms. including verbal, physical, and visual contact, threats, demands, and
   retaliation for making a complaint. Examples may include, but are not limited to:

        Bias -related         behavior - behavior that suggests hatred for, or hostility toward.        a   person or group
       because of their race, sex, sexual orientation. gender identity, religion, or protected
       characteristic. This may include, but is not limited to, bigoted slurs, drawings. and symbols such
       as a       hangman's noose,       a   swastika, or graffiti.

       Verbal conduct, such as epithets. demeaning or derogatory comments, jokes. negative
       stereotyping. slurs or any term or code name that denigrates or disparages others, including but
       not limited to any member of a minority, racial, or ethnic group.




https://newjetnet.aa.com/docs/DOC-18173                                                                                  5/10/2017




                                                                                                                     AMERICAN 000006
    Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 115 of 134


Work environment lietnet                                                                                  Page 2 of 4



        Physical conduct such as assault. unwelcome touching. blocking normalinavement. interfering
                                                                                                       MFnv
        with work. threatening. intimidating, or offensive behavior that relates She factors described
        above.

        Visual conduct such as derogatory or otherwise offensive posters, cards, objects. symbols,
        calendars. photographs, cartoons. graffiti, drawings, jokes. letters. e -mail, or gestures that
        denigrate or show hostility toward an individual or group.

        This applies to us all. including anyone working on behalf of the company. If you see it
        happening. report it to your manager, contact Human Resources or call the EthicsPoint Helpline
        (877) 422 -3844. You can also find out more at www.aa.ethicspoint.com.


     If you violate. engage in, or condone this kind of behavior, or retaliate against an employee who
    reports this kind of behavior. you will be subject to appropriate disciplinary action, up to and
    including termination.



    Free      of discrimination
    We can't stress it enough. American does not tolerate discrimination or harassment, or retaliation
    for making a complaint of discrimination or harassment, or participating in an investigation of such      a

   complaint. If you feel thatyou have been harassed. or discriminated or retaliated against in the
   employment or accommodation process, report it to your manager. HR Business Partner and /or
   the EthicsPoint Helpline. Your complaint will be investigated. appropriate corrective action will be
   taken to stop any appropriate conduct and prevent it. and there will be no reprisals for making such
   reports in good faith or participating in an investigation of such a complaint. Remember, it is
   everyone's job to report discrimination and harassment and to cooperate in the company's
   investigation al such reports. Anyone found engaging in discrimination, harassment or retaliation
   will be subject to discipline. up to and including termination.



    Keep it fair
   No one wants to work for a company where harassment. intimidation or violence lives. To be
   absolutely clear. American prohibits threats and workplace violence toward our employees.
   vendors. customers or property. In no shape or form will the following be tolerated:

        Physically or verbally threatening or intimidating another individual while at work. including
       acts of bullying;
       The intentional destruction or threat of destruction of company or another's property:

        Harassing or threatening an employee while at work, including phone calls or written
       communications;
        Stalking at work; and

      Advocating illegal use of firearms, bombs, or weapons while at work.
   This applies to everyone working on behalf of the company, including, but not limited to, American
   employees, contract workers, temporary workers, and non -employees on American's property.lf you




https://newjetnet.aa.corn/docs/DOC-18173                                                                   5/10/2017


                                                                                                  AMERICAN 000007
   Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 116 of 134


 Work environment Ijetnet                                                                                     Page   3   of 4


    witness or are aware of any violent or potentially violent conduct. do the rir`t thing and report it'.0
    your local management as quickly as possible. They'll take it from there, ma4 g an initial assessmen
    of the situation and contacting Human Resources.



     No sexual harassment
    American Airlines is committed to fostering a work environment that is free from sexual
     harassment, and that includes retaliation for raising a sexual harassment complaint or cooperating
    in an investigation.



    The Equal Employment opportunity commission defines sexual harassment as unwelcome sexual
    advances. requests for sexual favors and other verbal. or physical conduct of a sexual nature when:

       Submission to such conduct by an individual    is   made explicitly or implicitly a term or condition
       of employment;
       Submission to. or rejection of, such conduct by an individual     is   used as   a   basis   for an
       employment decision; and /or
       Such conduct has the purpose or effect of unreasonably interfering with an individual's work
       performance or creating an intimidating hostile or offensive work environment.

        Examples of sexual harassment may include:

       Making or threatening retaliation after a negative response to sexual advances:

       Offering employment benefits in exchange for sexual favors;

       Visual conduct  - leering, making sexual gestures, displaying of sexually suggestive objects,
       pictures. cartoons, or posters;

       Verbal conduct - making or using derogatory comments, epithets, slurs, sexually explicit jokes,
       sexual innuendoes, comments about an employees body or dress;

       Verbal sexual advances or propositions:

       Verbal abuse of a sexual nature, graphic verbal commentary about an individual's body. sexually
       degrading words to describe an individual. suggestive or obscene letters, notes. or invitations;
       and

       Physical conduct   - unwelcome touching or massages, assault.          impeding. or blocking
       movements.
   If you are offended by inappropriate conduct in the workplace. and if comfortable in doing so, tell
   the alleged harasser you are offended by the behavior and /or remarks and you want it to stop. Do
   not ignore the behavior. If the behavior continues, or you do not feel comfortable talking to the
   alleged harasser about it, immediately report the behavior to your manager, your local HR
   Office /HR manager or the EthicsPoint Helpline at (877) 422 -3844 or www.aa.ethicspoint.com.


   Sexual harassment complaints will be investigated by the company with due regard for privacy and
   confidentiality of all persons involved. The company will take prompt and appropriate corrective
   action to stop any harassment or inappropriate conduct and prevent its recurrence. As




htlps://newjetnet.aa.com/docs/DOC-18173                                                                        5/10/2017

                                                                                                         AMERICAN 000008
   Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 117 of 134


 Work environment IJetnet                                                                                              Page 4   of 4


     circumstances warrant. the harasser may be subject to discipline. up to and iicluding termination.
     Employees must cooperate with the Company in its investigation of harasslóntand discrimination
     complaints. There will be no retaliation against an employee who. in good faith, raises concerns or
     makes complaints of alleged. perceived or actual unlawful harassment or discrimination. or who
     cooperates in the investigation of such matters.


     3887 Views      Categories:         Tags: diversity. discrimination, work       environment. harassment




   Average User Rating

    (0 ratings)




                                   oneveorld   (   User Agreement   I   Community guidelines   I   Techsuppart

                                                   2017 American Airlines. Inc All Rights Reserved




https://newjetnet.aa.com/docs/DOC-18173                                                                                5/10/2017


                                                                                                                 AMERICAN 000009
        Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 118 of 134




                                                                                                                                         American.Airt'rnès

                                         REASONABLE ACCOMMODATION REQUEST                                          - HEALTH CARE PROVIDER
        Instructions: Employee should complete Sections t and 6. In addition, please ask your health care provider
        to complete Sections 2.5. Please attach your job description to the request form

        SECTION t      - EMPLOYEE INFORMATION
         Name          i                                           Employee Number                         SA!,                 Home Telephon


        Address /A?        (4.   x   L                                                                                  State   b4            1z
                                                                                                                                               ll_
                                                                                                                                                       _Avg         U
         Department                                                Oty                             I   Supervls                                    Work Telephone


    I   Dînent Position
i       Employee Certification and Medical Release

                       health care provider representing American Airline to contact the undersigned health care provider for purposes of
        I hereby authorize a
 making disability related Inquiries such as whether I have a disability, the need for any reasonable accommodation, and the nature of any
¿such accammodätiön.




        Employee's Signature                                                                                                               Date


         SECTION 2         - DETAILS OF EMPLOYEE'S CONDITION
        The employee Identified abov e hás requested a Job accommodation from American Airlines. In order for the Company to properly evaluate
        the request, the following information Is requested to help determine whether the employee has a disability.

        Does the employee have a physical        or mental Impairment?               D Yes             D      No

        If yes, what   Is the Impairment?                                i       ^           iiq I.                      //.Y/L'".
                                                                         Api
                                                                             .




        What Is the duration of the employee's Impairment?                                   %ir7fY.
        Does the Impairment affect any       of the following:
        (Check any that apply)


         0   Caring for Self                             Walking                         O     Hearing                               0   Lifting


         O   Interacting with Others                0    Standing                        0     Seeing                                0   Sleeping


         O   Performing Manual Tasks                0    Reaching                              Speaking                              0   Concentrating

         O   Breathing                              0    Thinking                        O     Learning                              0   Operation of Bodily Function

             Working                                0    Sitting                         0     Eating                                0   Reacting


         0   Pending                                     Reading



        IVothaglÇI                       frr4 ¿4                    4V               u11,AU                lnA     -




         ö   None      ofthe above

        Does the impairment substantially limit the ahluh.         ^f the employee to        perform any of the activities you identified as compared to most people
        in the general population? L Yes




             12433 healthcare_lrovlder.pdf                                              Page   1       of 2                                                   05/11/2016




                                                                                                                       EXHIBIT

                                                                                                                                                        AMERICAN 000592
                                                                                                                       sloxL. -
                                                                                                           kc5 -7Iq
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 119 of 134




                          REASONABLE ACCOMMODATION REQUEST                                      - HEALTH CARE PROVIDER
 SECTION      3- QUESTIONS TO HELP DETERMINE WHETHER AN ACCOMMODATION IS                                        NEEDED


Please see the attached job description to complete this Section.

What Ilmitation(s),   if any, Interfere with the job performance or the    employee's ability to access an employment benefit?

        et-.661 V6                         WAWirg Anti                    l%-
How do the employee's limitation(s) Interfere with his/her ability to perform the job
                                                                                      functions) or access an employment benefit?




  SECTION     4- QUESTIONS TO HELP DETERMINE EFFECTIVE ACCOMMODATION OPTIONS
                                                                            employee to successfully perform his/her lob or access an
Du you have any suggestions regarding possible accommodations to enable the
em.loyment be fit? If so, what are  they?
                                                                                                                        -evAiayi

t
H"QUId
          ,
              mw          -)      1

                               itafri-c,



accom¡m¡c,0ation you would recommend  which
                                           U
                                           hpt.
                                                find 14.66, 1kAn410P3'

                                            would
                                                   fills pm G wtate ,
                                                     R
                                                                                                          dg,
                      áf t19jotfTüñf5`PéSYiltln a direct safety or health tlxeat to this employee or other people?
                                                  eliminate this threat?
                                                                                                                             an %!
                                                                                                                   Is there any other
                                                                                                                                       C




  SECTION     .5   -TREATING           HEALTHCARE PROVIDER INFORMATION



 Health Care Provider's,.,Name ov'(PO
                                (P                             i.,t            r'Jly9e   --
                                            Type of Practice                                  State (location) of Practice   / kJ
 Today's Date

                                                                                Office Fax
 Other Phone Number

 Treating Health Care Provider's Signatur

  SECTION      6- EMPLOYEE'S CERTIFICATION
                                                                       CARE PROVIDER ON THIS FORM ARE COMPLETE AND
 I CERTIFY THAT ALL STATEMENTS AND ANSWERS PROVIDED BY ME OR MY HEALTH
                                                                           OF MY MEDICAL HISTORY OR REQUEST MAY BE
 TRUE TO THE BEST OF MY KNOWLEDGE, AND I UNDERSTAND THAT ANY FALSIFICATION
 CAUSE FOR DISCIPLI    Y                 INCLUDING TERMINATION.
                                                         (4                                                                  Date
 Employee's Signature
                                                 Please giJe completed form to your Human Resources Business Partner




                                                                           Page 2   oft                                                    05/112015
       12433 healthcare_provider.ptlf




                                                                                                                                    AMERICAN 000593
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 120 of 134




                                                    REASONABLE ACCOMMODATION REQUEST FORM
                                                                                                                                         American Airlines                \
 SECTION 1             -   EMPLOYEE INFORMATION

                                  411,rpaiir              Iiiiairini                                      Today's Date



                                                                                               !/i
 E %


                                                                                                                                                              d
 Manager Na,'
                                         *Let   S                                                                                             -




Work croup

       Fleet Service (Ramp, Cargo, etc.)                          Flt. Ops Other (FCTI, Sim                    passenger Service - Airports
                                                                  Engineer, Dispatch, etc.)

©      Flight Attendants                                    11 Maintenance                                ®     Pilot

Q     Fit. Ops Pilot                                        IItl Non -contract (Mgt., Admin.)             El   Reservations

 Employee Maging Addre ss                                                                                 Employee Email Address

SECTION 2              - QUESTIONS TO CLARIFY ACCOMMODATION REQUESTED
 Accommodation Stan Datee                                        oddation End Date (Indicate Indefinite" if requesting an Indefinite m
                                                           Accommodation                                                                                      Motion.)
                                                                     r


A.         Questions to Clarify Accommodation Requested.


                                                     r
What specific accommodation are you requesting?


Tr                                    4      M              ß&ê                     NI,         r
                                                                                                    F.6                       i5          ewkd ßi1
          Pbyt
           (e-Î?
                                       o
                                                //M9"      Anti 6)/404,                i4IAÁnô, Also otS                                      ao               rs
           h1Gl'+r1I




IfyoRrecnokstiiew    ah              t
                         accaAiA1"od l
                                           /,ArJ2
                                        Is é                      glen     av       CAr r'6'              WI
                                                                                                 Co« Ty M rrl
                                                                                                                              Yes                 R   No
                                                                                                                                                           4w) ?n1
                                                                                                                                                               ,1(.0
 suggestions about what options we can explore?

          If yes,          please   spier.                                                                                                        /

Is your accommodation request brae sensitive?                                                                           )ii   Yes                     No




                                                    5t6
          If yes, please explain.

  fir..                     to &Ñ!                                              44       pr 604,bp4 61'6

 B,        Questions To Document The Reason For Accommodation Request.
 What, if any, lob function are you having difficulty performing?
                                                                    .141--
$m,h_P1r,,,IaOJ                      5                                            n((PA -,                                    ^         -         rxn
                                                                                               gillrJ                                                               .e
 ,0-3-5h
 Have                         a   ómm        tlon.141- past for          sameñ va1                        w/                      ICWoAews(             No)         v'
          If yes, what were they and how effective were they?
                                                                                                    ,,,

                                                                                                    V6     I    1a* twat,



      12473 request fonn.pdf                                                    Page I   oft                                                                  05/112015




                                                                                                                                                      AMERICAN 000594
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 121 of 134




                                       REASONABLE ACCOMMODATION REQUEST FORM




 If you are

 la    WP-» `J
 ï614 m/                l
              requesting a specific accommodation, how will that accommodation assist you?




                              eogfred+ekuì6 Pil
                                                                       ,v i s
                                                                         , &h1 MernP
                                                                                                              t
                                                                                                              o
                                                                                                                           )   46
 Other:    Please Provide Any Additional Information That Blight Be Useful In Processing Your Accommodation Request.




                                                                    _......,,,.._.        .- _.....   r       _        _       ....   -.   _   _   ,.   _..:       ...
 SECTÌON       3- IMPORTANT ÌNÌTSYtMÀTION           ,.....      '                                                                                              _



 American Airlines will review and respond to your job accommodation request as soon as feasible.             If you       have questions In the meantime,
 please contact your Human t -.. Pi, g sines Partner.
 SECTION      4-SIGNATURES


 I   ce . -fy that dl statements and answers provided on this farm are complete and true to the best of my knowledge, and I understand that
 a                                                                                   i,
      J- -float( of m medi al history or r:, + m b- T for .Isci.11n -ry on . . - . . uding termination.   I




              ri,   A   .:4,/te..                                                                         rot,
 SECTION       5- INIERNALIt SE.ONLY
 Date Received

 Forwarded to (Name)                                                          Date




                                                                     Page 2 of 2                                                                   05/11/2015
       12433_request-form.pdf




                                                                                                                                      AMERICAN 000595
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 122 of 134




  ArnerieanAirllnes\
  August 22, 2016

  Ms. Colleen Koslosky
  110 Whitman Ave
  Stratford,   NJ   08084



  BY MAIL



  Dear Colleen:

  You submitted a request for a reasonable accommodation under the Americans with Disabilities
  Act (ADA) on August 16, 2016. Specifically, you requested to remain on B- Concourse as you felt
  it was much cooler and there is less walking as you have a place on B where you can go and ele-
  vate your foot.

  On August 16, 2016, you and   I had an interactive discussion to explore possible reasonable
                                                                                               ac-
  commodations. At that time, I did advise that I would then engage with the Customer Care de-
  partment director to review your request and explore options.

  After a review of all the information available, the Customer Care operation is unable to fulfill
  your request. With regards to the temperature, please note that any facility issue would have to
  be reviewed by Beth Norton and the DOA. You are certainly welcome to bid and hold a ticket
  counter if this suits your needs. However, the operation cannot assign any particular agent a
  concourse. Please utilize the break rooms available to you on your assigned breaks to elevate
  your foot if need be.

  Please   let me know if you have any questions or future concerns.




   aomi Postlewait
  Senior HR Specialist, Human Resources
  Philadelphia International Airport
  610- 362 -4126




                                                                                            $         EXHIBIT


                                                                                                 'KW OSkY-7
                                                                                             8
                                                                                                 m. 5-7-19

                                                                                       AMERICAN 000610
  Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 123 of 134



                                                                                                                                                                                        1/



                                                                                                                                                                                        .
Jul.13.2017                    07:23          PM                                                                                                                           PAGE.             2



                                          %d21
                                                                                                                                                American Airlines

                                      REASONABLE ACCOMMODATION REQUEST- HEALTH CARE PROVIDER


       Instructions; Employee should complete Sections 1 and 6, In addition, please ask your health care provider
       to complete Sections 2- 5. Please attach your job description to the request form



           Nam
                                               /00
                                              014/4/t.,
                                                                              Employee Number
                                                                                                             4.1p-1V'TO
                                                                                                                                      Home Telephone

                                                                                                                                                               0&1284-
       Address                ''99
                       //0 Wa .p,n                                            üty
                                                                                              íJe.,974, -4                State
                                                                                                                                  NJ-
                                                                                                                        f1nfln-t9 j
                                                                                                                                                          Op




                                                       i
                                                                                                                                            w
       Department                                                             OW
                                                                                        ?14j.              Supervisor
                                                                                                                                          LX          Work Telephone


       Current Position

       Employee Corti                don and Medical Release

       Ih              authorize a health ca      provider representing American Airline to contact the undersigned health care provider for purposes of
       ma             disability related inq i les such as whether I have a disability, the need for any reasonable accommodation, and the nature of any
                        mmodation.




      r'r:rsf',r
                        i        /


           SECTION 2        - DETAILS OF EMPLOYEE'S CONDITION




                                                                                                                                                                .
     Tha employee Identified above has requested a job accommodation from American Airlines. In order for the Company to properly evakiate
     the request, the following information Is requested to help determine whether the employee has a disability.

                                                                                                                                                                               i
      Does the employee have a

      If yes, what is the impairment?
      What       Is
                                               is   or mental




                      the duration of the employee's Im
                                                                    I




                                                                           /us/,i
                                                                         pal        t?   r+    Yes




                                                                            l /IlI!'irllrrt r 7.,
                                                                                    w
                                                                                                                  No

                                                                                                                                EL /
                                                                                                                                               c
                                                                                                                                                '.A,3/Z
                                                                                                                                                           /
                                                                                                                                                                       -      /..
                                                                                                                                                                                    r




      Does the impairment affect any           of the following:
     (Check any that appry)


           Q   Caring     for Self                       rig Walking                             Q       Nearing                                Lifting

           Q Interacting with        Others                     Standing                             Q   Seeing                           I]    Sleeping


           Q     Performing Manual Tasks                        Reaching                             Q   Speaking                         Q     Concentrating

           Q     Breathing                                      Thinking                                 Learning                         Q     Operation of Bodily Fundfon


           O     Working                                 E      Sitting                                  Eating                           O     Reacting


           Q     Bending                                        Reading




           Q Other

                 None of the above




       Does the Impairment substanü Ily
                                         $Yes
                                                    limit thr   "       lity of the employee to perform any of the activities you identified as compared to most people
                                                                         No
       in the general population?




    E..C
    //71
                            -
                 724)J33_heaitho'dre_providenpdf

                                      a 8- S               4v.dl..v.F.a-s
                                                                                                Page[toft
                                                                                                     (IJ     f   S K /]-
                                                                                                                            /
                                                                                                                                  7
                                                                                                                                             /
                                                                                                                                        rN.`rV.i 714.44.4.)
                                                                                                                                                                  05/11/2015




                                                                                                                        EXHIBIT


                                                                                                                                                                 AMERICAN 000596

                                                                                                         I                51(q
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 124 of 134



Ju1.18.2017                  07:24                PM                                                                                                                PAGE.    2/   2




                                    REASONABLE ACCOMMODATION REQUEST                                          - HEALTH CARE PROVIDER


    W/


          NW
                             _
    Please see the attached Job desuiption to complete this Section.

                   Itation(s , If any,

                      /.1
                                         'i       .re with the

                                                   /L'_ /t ./
                                                                     b performance or the empl

                                                                          ,/[ /                  sL1a. LI          ' 1eß
                                                                                                      's ability to access an employment

                                                                                                                        .4
                                                                                                                                               bend

                                                                                                                                                     .7




                 /I,/%- n&)                                               I
                                                                                                                     .nag   'Art
                                                                                        ¿t;          i                                                     6
    ov                                                  In   Art                                                                               ' '   eat

                                                    i_,
    a    A_'._.                           /J            JFJ.            L    t          . _..                il                                                   A
                                                                                                                                                                      -etc
        SUCTION 4        - QUEST IONS 'to HU? OFTERM1NE e' +EC rnm ACCOMMODAT. ION OPTIONS



                                                                                                       /
                                                                                                                perform his(her Job or access an
    Do y.         have any suggestions regarding possible accommodations to enable the employee to successfully
                   ent ben'' 7 If so, hat are they?
    amp

                           I /Ifí /i4&aI2 .                                                      i ßíW
                                                                                                     U/..'.L/
            ..




          .A                                                                                                                             O. Alt

        D               _'.rll<f`r/;,
                                                ob functions result in a direct safety or health threat to this employee Or other people? Is there
                                                                                                                                                   arty other
    Wo Id patterning any          of the
    e     mmadation                uld

                                              y, tai.. ,éGi /
                                         I,, ,111Y+7171
                                               commend which        yid elbdnete
                                                                                        t

    Pl..                                                                                                                            tiara .. _/ _



        SECTION        5- TREATING HEALTHCARE                    PROVIDER INF UraATION



    Health Care Provider's Name (Print)
                             7- 4"r(7
                                                             LIYL,    i/serne wt. C egtel`-'1
                                                                          CA ae    (rwr)t,                State (location) of Practice   ere112O
                                                                                                                                                                    .r
    Today's Date                                   Type of Practice

    Other Phone Number                   d'3!.         7t.«'X-r-ti7                              Office Fax
                                                                                                                             s
                                                                                                                                          ÖZr
    Treating Health Care Provider's Signature                        ..a/n   .
                                                                                                                        g


        SECTION G- EMPLOYEE                   S   CERTIFICATION

                                                                                                                   CARE PROVIDER ON THIS FORM ARE COMPLETE AND
    I CERTIFY THAT AL S      ENTE AND ANSWERS P OVIDED BY ME OR MY HEA
                                                                    EA
                            NOWLED6e, ANDi     "ERSTAND THAT AN   LSIP'                                           TION OF MY MEDICAL HISTORY OR REQUEST MAYBE
    TRUE TO THE REST
                                                                        iILUDI'
    CAUSE FOR DISCIPLE A+(7ACRON UP TO AND

     Employee's Signatu                                                 i'plet-. r Ala
                                                                                    .       .,   our..m?A'..c-
                                                                                                       /
                                                                                                               ..,,
                                                                                                                                         Dat




                                                                                            Page 2 of 2                                                        05(11201S
                 12433_healthoere_Provlder.pdf




                                                                                                                                                           AMERICAN 000597
               Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 125 of 134




From:                  Yori, Robert <Robert.Yori @aa.com>
Sent:                  Wednesday, July 26, 2017 1:17 PM
To:                    colleenkoslosky@hotmail.com
Subject:               ADA Accommodation
Attachments:           Koslosky, Colleen ADA AccommodationLtr 07- 25- 17.pdf

Follow Up Flag:        Follow up
Flag Status:           Flagged



Dear Colleen:

It   was good talking with you today.

Please find attached your letter of accommodation. As mentioned, the next CWA bid will probably be
                                                            I


announced in August and be posted sometime in September 2017. In order to expedite your return to work,
we can temporarily assign you in POC until such time that the bid is posted. Thereafter, with your seniority,
you can bid and hold any of the accommodation assignments indicated in the letter. Your operations
management has committed to making certain that you will be provided relevant training in any of the
accommodations.

I know that were clear with me that you did not intend to avail yourself to the accommodations
provided. Rather, you said that you would attempt to swap assignments with other agents in order for you to
work on Concourse B. Nevertheless, am requesting that you consider the accommodations provided in this
                                          I



letter.

I    will call you again on Friday, July 28, so that we can review any questions or concerns you have.

Kind regards,
Bob

MnificarAnnu        `.
Bob Yori
Human Resources
Off: 610.362.1990
Fax: 610.362.7261




                                                                                                 EXHIBIT


                                                                                          b%Sloskj- 9
                                                                                          :4eC   51        14


                                                                                          AMERICAN 000608
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 126 of 134




                                                     American Airlines
July 25, 2017

Ms. Colleen Koslosky
110 Whitman Ave.
Stratford, NJ 08084

VIA EMAIL: colleenkosloski @hotmail.com

Dear Ms. Ko       y:

This letter is a follow -up to our interactive discussions, the most recent of which occurred today.

On July 18, 2017, you submitted a Reasonable Accommodation Request form requesting
                                                                                                      an
accommodation in order to    perform  the essential functions of your Customer Service Agent position  at
the Philadelphia International Airport.

Your requested accommodation, and supported by your Health Care Provider, was to limit long your
distance walking and exposure to elevated temperatures greater than 85 degrees Fahrenheit.

During one of our interactive discussions, you suggested to be assigned only to Concourse B as
                                                                                                        an
accommodation. You said that    normally clock -in under the B -5 gate and that you were able to  walk and
work any gate from B -1 to B -15. You further stated that you surmised that a personality conflict between
your union scheduler and you was a possible reason for you being assigned to gates on concourses that
required long distance walking beyond your requested accommodation.

After evaluation, we are unable to accommodate you by assigning you only to work B concourse. This is
due to the required flexibility our operation needs to assign agents to whatever concourse and gates are in
need of staffing as a result of often spontaneous gate changes, diversions and irregular operations.

However, in reviewing your seniority, we have confirmed that you will be able to bid and hold (under
your Collective Bargaining Agreement) other locations that are suitable accommodations. Such locations
include the B/C Ticket Counter or POC or Special Services. Both the Ticket Counter and POC are closer
than the furthermost gates on Concourse B. Special Services is located in the A Concourse but very close
to a clock that would minimize your walk. All areas and breakrooms have temperatures that are normally
regulated under 86 degrees. Furthermore, none are assigned by a scheduler.

 Please advise me immediately if you are in need of a further accommodation.

 Sincerely,


iiobertL. Yori
 Human Resources Manager
 610- 362 -1990




                                                                                             AMERICAN 000609
 Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 127 of 134




000 AT&T               LTE                           12:32                                0        88%M.
                                      Q Colleen Koslosky

                 Colleen Koslosky is with Peggy Farr and
                 44 others.
                 January 17             I:
  HOLY SHIT!

  Look what just found in my company email!
                        I




  Two SPACE POSITIVE tickets, upgradable to First
  Class, anywhere in the world in recognition for being
  selected by Air Transport World's Airline o... See More

Tuesday, January 17. 2017                                                  American Airlines                      46,




     Special Jetwire
     A Message from Doug    Parker   - Celebrating a Phenomenal 2016


Dear Team Members,

Today Air Transport World (ATW) - the leading magazine for global airlines and the air transport community -
announced its selection of American Airlines as its 2017 Airline of the Year. American has won this prestigious
award twice before, most recently almost 30 years ago in 1988. Congratulations!

This recognition is a testament to the mission shared by 120.000 team members of our mainline and wholly
owned regional airlines. The ATW editorial board described the American integration as 'practically flawless,
despite it being the largest, most complex airline merger in history.' And while d is satisfying to receive
accolades for our Integration work, it is even more energizing to receive recognition for the work being done for
our future. ATW cited our operational and customer service improvements, as well as the more than S3 billion in
new customer products and services, inducting greater onboard connectivity. new entertainment and dining
choices, upgraded lounges and new destinations. Lastly, they noto that all of this is being accomplished while
delivering profitable returns to our shareholders.
American is setting a new standard for service. and that's thanks to the work all of you do. It is a noble calling to
play a role in transporting the people who entrust their travel needs to us. and it is gratifying to be recognized
when we do that well.
To  celebrate this prestigious recognition by ATW and your unique part in it. American employees - including
team members at Envoy, Piedmont and PSA - will receive two positive space. round-trip Main Cabin tickets
anywhere we fly. These tickets will be upgradable to First Class on a space available basis, and will be available
for use beginning this summer through December 2018. You can find more details on Jetne>i.

American Airlines was selected as Airline of the Year for 2017 because of all of you and the Jobs you do so well
for our customers. I hope you enjoy a special tnp, and the memories you'll create with someone close to you. as
appreciation for all you've done to set American on its path to greatness Congratulations and here's to another
great year.                                                                                                                       EXHIBIT


                                                                                                                         I   K. 05.             t(

                               CO                                                                                                     /1   `I
                                                                                                                                                atü
                                                                                                                AMERICAN 000418
     Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 128 of 134




          Like                             11




        Colleen Kos sky
        ,.:                  o
   I were Black in America, I think I'd get down o
   y knees every day and thank my lucky stars that
   y ancestors were brought over here as slaves,,
       use when you look at the amazing rights,
 privileges, and benefits that come along with V.S.
 citizenship, and then compare that to the
 relentless poverty, violence, and suffering in
jfrica., it's like winning the Super Lotto, a
   undredS times over.

 But I guess I'm old-fashioned that way, believing
  s I do in the Importance of gratitude, humility,
 and respect.




                                                       AMERICAN 000401
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 129 of 134

..II T- Mobile                     U:28 PM      -'/   0   *   21%!.


                 Colleen Koslosky
                 13     hrs   e)




  ral       Write   a   comment...
                                                                       EXHIBIT


                                                                      kosty
                                                                       lS
                                             to                        .51 -/   J
                                                                                    lg   q
        Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 130 of 134



             Colleen Koslosky                                                   A   P ö




             Sep 2 3 at 0 4 h a
                            1   :   I   "n   o
                                                 ..




We are losing Blue Eyed People.

Too many are reproducing with Brown Eyed
People.

This is true.

So Blue Eyed People...UNITE!




  All blue -eyed people have                          a   single ancestor in
  common                                                                            EXHIBIT
                                                                                Kos ID,sk4
  I:   usInessinsicIei coni
                        .




                                                                                    V7

                                                                      AMERICAN 000501
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 131 of 134




                                              American Airlines

   September 27, 2017


   Ms. Colleen Koslosky
   110 Whitman Avenue
   Strafford, NJ 08084

   VIA EMAIL: colleenkoslosky @hotmail.com
   Contact No: 856- 904 -3567


   Dear Colleen:

   As we discussed today by telephone, you are hereby held out of service with pay as we
   look into your allegations as well as other allegations regarding posts on social media.

   As part of our inquiry, we will be scheduling a meeting with you in the near future. In
   accordance with your CBA, please arrange for union representation once that meeting is
   scheduled.

   As a reminder, while you are held out of service, you are not allowed to use any of the
   flight privileges that are provided to you as an American Airlines employee, including
   traveling on any other carrier as a "non- revenue" pass traveler.



         Wilson, Manager on Duty


   cc:     Beth Norton, MD, Customer Care, PHL
           Union Representative




                                                                                          EXHIBIT
                                                                                        Ks    .

                                                                                              11
                                                                                    W
                                                                                        sÍ        II?   /1-4.,0



                                                                              AMERICAN 000412
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 132 of 134




                                                                                        AmericanAirlines,,,.
   October     8,   2017

   To:         Colleen Koslosky, Emp. No. 467648
               Customer Service Agent

   Re:         Termination of Employment

   American Airlines recently became aware of several of your posts on your then-public Facebook page that contained
    concerning statements about race. One post stated, for example, "If were Black in America, think I'd get down on
                                                                             I
                                                                                                       I




    my knees every day and thank my lucky stars that my ancestors were brought over here as slaves." The post
                                                                                                                     went on
   to imply that Black people who think otherwise lack 'gratitude, humility, and respect." Another post, apparently in
    reference to recent protests by African- American athletes, was a photo of a T-shirt depicting a drawing of cotton with
    the statement, Have you lost your cotton pickin' mind?" At the time that you posted this material, your social media
    presence identified you as an American Airlines employee and these posts were publicly available for anyone to view -
    Including not only your co-workers, but also American Airlines customers.

   In a meeting held to Investigate this matter, you acknowledged that you posted this material on social media but you
   denied that there was any reason to apologize, saying, "I don't know why anyone would be upset.' by this material.

   As stated in our Social Media policy,

               Prior to posting anything online, remember you are personally responsible for the content you post or publish
               In any form of user -generated media. To the extent any of your personal or business related postings refer to,
                relate to, implicate or reflect on American Airlines or any other MG company, you will be held responsible for
               complying with any American Airlines' rules, policies and procedures that may relate to your post.

   The above -mentioned content that you posted on social media is wholly antithetical to the American Airlines Work
   Environment Policy. which among other things strictly prohibits bias -related behavior and verbal or visual conduct that
   denigrates or disparages others, including but not limited to any member of a minority, racial or ethnic group,

   Moreover, have concluded that your actions as described above violate the requirements reflected in the American
                    I


   Airlines Professional Conduct Standards for Passenger Service Employees, which state, in part:

                American Airlines team members are expected to demonstrate professional conduct that reflects
                commonsense, integrity, responsibility, initiative, efflclehcy and good judgment at all times. Team members
                should not act in a way that is detrimental to the welfare of, or reflects unfavorably on, the company or other
                team members.

   As the Work Environment Policy makes clear, American Airlines does not tolerate bias -related behavior, and American
   Airlines embraces and celebrates diversity. Indeed, we state prominently on aa.com:

                From the team members we hire to the customers we serve, inclusion and diversity is a way of life at
                American Airlines. Every day, our team members work to make American a place where people of all
                generations, races, ethnicities, genders, sexual orientations, religious affiliations and backgrounds feel
                welcome and valued.

          of your conduct, American Airlines is no longer able to trust you to engage with your co-workers and serve our
    In light
    customers in a way that demonstrates the Company's core values. Accordingly, and in view of the above, your
    employment is terminated effective with the issuance of this letter.

    All Company property is to be returned to me and Is not to be used for any purpose after the issuance of this letter.
    Please contact the Team Member Service Center at 800 -447 -2000 with any questions you may have regarding
    continuation coverage or other benefits.


                                                                £4-t Y
                                                               Beth M. Norton
                                                                                    0-trIA
                                                               Managing Director- Customer Care
                                                               PNL
    cc:             Personnel File
                    CWA
                    Human Resources                               r/     Personally Handed to Employee
                                                                By:      Q       I`}1   (WPM




                                                                                                                AMERICAN 000040
   Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 133 of 134


Communications             230 South Broad Street, 19th Floor         Edward F. Mooney
Workers of America         Philadelphia, Pennsylvania 19102           International Vice -President
AFL-CIO                    (215) 546 -5574   Fax (215) 985 -2102      District 2 -13
                           Email: emooney @cwa- uníon.org




                                                                                        June 27, 2018


   Colleen Koslosky
   110 Whitman Avenue
   Stratford, NJ 08084

            Re: Grievance # GC09- Q9SEP /CWA Case #US C- PHL- 133Q1 -17 -043
                   Termination for Violation of AA Social Media Policy

   Dear Ms. Koslosky:

          On April 20, 2018 a letter was sent to you notifying you that CWA did not intend
   to advance the above referenced grievance to arbitration.

          On May 14, 2018 your appeal letter was received in my office. Your appeal is
   timely and in proper order. However, for the reasons stated below I cannot agree to
   advance this dispute to arbitration.

           Our records indicate that you were employed by American Airlines as a Customer
   Service Agent at the Philadelphia Airport with a hire date of December 12, 1983. On
   October 6, 2017 American Airlines (AA) terminated your employment for allegedly
   violating its Social Media and Work Environment policies.

         Disciplinary action was taken, according to AA, after you notified supervision
  that your social media (Facebook) postings had been viewed by co- workers and were
  perceived as racially provocative and disparaging toward African- Americans. These
  postings were found on your publically -accessible Facebook account, visible to co-
  workers (some of whom were identified as Facebook "Friends ") as well as AA
  customers.

           American Airlines maintains a Social Media policy that prohibits "bias- related
  behavior and verbal or visual conduct that denigrates or disparages others,
  including... any member of a minority, racial or ethnic group." Further, AA maintains a
  Work Environment policy were employees are expected to "make American a place
  where people of all generations, races, ethnicities, genders, sexual orientations, religious
  affiliations and backgrounds feel welcome and valued."

         Based on the publicly accessible Facebook postings that you acknowledged
  placing on your account, and defended by stating that you could not understand why
  anyone would be upset by them, an arbitrator would easily find that American had just

                                                                    EXHIBIT


                                                                   Cs'oS
                                         Kosky                      02(
                                                                   .q-71   19   11-to
                                                                                           000249
Case 2:18-cv-04654-JDW Document 28-3 Filed 11/19/19 Page 134 of 134




cause to take disciplinary action against you. The degree of discipline would be
considered in light of the disruption in the workplace that your presence would
accompany. Your actions not only violated various AA policies, they have also alienated
and angered a large share of your co- workers. An arbitrator would be most reluctant to
return you to the work place, in particular since you remain reticent to acknowledge the
impact that your postings has on a large segment of American's workforce. For the
above stated reasons, I cannot agree to advance this grievance to arbitration.

          If you disagree with my decision, you may file an appeal under Section III of the
Internal Appeals Procedure contained in the CWA Constitution. Your appeal must be in
writing, signed by you, filed with the President of the Communications Workers of
America, and submitted by mail, facsimile or personal delivery within thirty (30) days of
the date. óf this _letter_,(e -mails will not be processed). Your appeal must also contain any
      .




additional evidence the Union could use to persuade an arbitrator to sustain your
grievance.

          Please send your appeal to:

                             Christopher Shelton, President
                           Communications Workers of America
                                 501 Third Street, NW
                              Washington, DC 20001 -2797



Sincerely,
ZI:111
Edward F. Mooney,
International Vice President
Communications Workers of America


cc:       M. Davis
          P. Tronsor
          Case file

/arm


                                         CERTIFIED MAIL: 7017 3040 0001 1286 1368




                                        Kosky                                       000250
